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                    EXHIBIT D
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              IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF MICHIGAN
  ____________________________________
                                      )
  SPEECH FIRST, INC.,                 )
                                      )
                                      )
                 Plaintiff,           )
                                      ) Civil No. 4:18-cv-11451-LVP-EAS
  v.                                  ) Hon. Linda V. Parker
                                      ) Mag. Judge Elizabeth A. Stafford
  MARK SCHLISSEL, et al. ,            )
                                      )
                                      )
                 Defendants.          )
  ____________________________________)

                   DECLARATION OF LAURA BLAKE JONES

        I, Laura Blake Jones, submit this declaration in connection with the above-

  captioned matter and in support of Defendants’ opposition to Plaintiff’s motion for

  a preliminary injunction.

        1.     I am the Dean of Students at the University of Michigan. My current

  responsibilities include overseeing the Office of Fraternity and Sorority Life and

  Student Legal Services, in addition to the programs and services of the Dean of

  Students Office and affiliated departments, including: Expect Respect, the Beyond the

  Diag Program, the Blavin Scholars Program, the U-M Debate Program and Institutes,

  and the U-M Central Student Government. I have held this position since 2009. I

  have over 33 years of experience working in higher education, including previously

  serving as the Interim Dean of Students, Associate Dean of Students and Director of


                                           1
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  the Office of Student Life at the University of Oregon (1994-2009), as the Assistant

  Director of Housing and Dining Services at UC Berkeley (1987-1994), and as

  Community Development Coordinator at UC Davis (1985-87).

  Background on the BRT

        2.     The Bias Response Team (“BRT”) at the University of Michigan is based

  out of the Dean of Students Office. It was established during the 2010-11 academic

  year as an informal resource to support students who feel they have experienced bias

  in the University community, to refer them to other campus resources as appropriate,

  and to educate the University community with respect to issues related to bias. It was

  initially run by Nina Grant, Director of Multi-Ethnic Student Affairs, followed by

  Sarah Daniels, Associate Dean of Students.

        3.     During the 2014-15 academic year, BRT expanded to include five

  members and added its first dedicated staff member.

        4.     In September 2016, Nicole Perry Banks, now Interim Director of

  Fraternity and Sorority Life and Assistant Dean of Students, took over leadership of

  the BRT. Ms. Banks also has over 25 years of experience working in higher education.

  She oversaw the BRT until October 2017.

        5.     The current BRT is comprised of representatives from the Dean of

  Students Office, the Office for Institutional Equity, the Office of the Vice Provost

  for Diversity, Equity, and Inclusion, the Division of Public Safety and Security, the

  Office of Multi-Ethnic Student Affairs, the Office of Student Conflict Resolution
                                            2
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  (“OSCR”), and the University Housing, Diversity, and Inclusion Office.            Since

  October 2017, it has been led by Julio Cardona, Interim Assistant Dean of Students.

  These individuals all have other full-time responsibilities at UM and only dedicate

  approximately 2-4 hours per month to their work as members of the BRT.

        6.     Dr. Cardona supervises the only two dedicated BRT staff members,

  Evelyn Galvan and Brooke Harris, whose titles are Bias Incident Prevention and

  Response Team Coordinators. Ms. Galvan and Ms. Harris also started in their roles

  in October 2017. Ms. Harris’ role focuses on proactive educational work with

  students. She serves as a back up to Ms. Galvan in responding to students impacted

  by bias incidents if Ms. Galvan is unavailable to respond.

        7.     Although I am not a member of BRT, each of the BRT leaders has

  directly reported to me while they were leading it, and I was personally involved in the

  BRT’s creation and implementation. I also review every entry added to the Bias

  Response Log before it is published. As Dean of Students, I engage regularly with

  the BRT and have personal knowledge of its mission and activities.

  Role of the BRT

        8.     BRT is not a disciplinary body. It does not—and cannot—punish or

  sanction anyone. BRT does not make a determination regarding whether a reported

  incident should be considered an instance of “bias.”

        9.     Instead, BRT’s goal is to provide an empathetic ear and serve as an

  educational resource for students who feel negatively impacted by any conduct within
                                             3
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  the University community that they perceive as “bias.” That is why the BRT website

  said that “[t]he most important indication of bias is your own feelings.” PI Ex. F at

  3. BRT focuses on the perceptions of the student who feels that he or she has been

  impacted by bias and on providing support to that student.

           10.   The educational and support services BRT provides include providing

  individual support and making referrals to other campus resources as appropriate,

  teaching active listening skills, and providing voluntary educational programs for

  individuals and groups, as requested.

           11.   Because the BRT is focused on providing support to any student who

  needs it, and not on proving anything or punishing anyone, the description of a “bias

  incident” that BRT provides online—“conduct that discriminates, stereotypes,

  excludes, harasses or harms anyone in our community based on their identity (such as

  race, color, ethnicity, national origin, sex, gender identity or expression, sexual

  orientation, disability, age or religion),” see https://deanofstudents.umich.edu/bias-

  incidents, attached as Exhibit 1 1—is intentionally broad. This is not a codification of

  a legal rule or a disciplinary standard. It is an invitation to students who feel impacted

  by what they consider to be bias to seek support from professionals who are equipped

  to help them should the students voluntarily wish to do so.




  1 ThisExhibit, and all subsequent Exhibits to this Declaration, are true and accurate
  copies of websites that were downloaded as PDF files on June 14, 2018.
                                              4
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        12.    To be clear, BRT does not investigate reports of bias incidents, nor does

  it make any findings or conclusions about the reported incidents. It cannot and does

  not require any student to do anything. All student participation is entirely voluntary.

        13.    BRT does not make a determination whether conduct reported as a “bias

  incident” constitutes a violation of University rules or the law. BRT explains online

  that “[b]ias incidents may involve conduct that does not violate any law or university

  policy,” although some cases “do involve conduct that may violate federal, state, or

  local laws or U-M policies.” See Ex. 1. When the substance of a report made to the

  team may indicate that the conduct could violate the law or University policies, the

  BRT may discuss appropriate referrals with the reporter.

        14.    BRT’s log (anonymously) reflects every incident that is reported. The

  listing merely indicates that a report has been received. It does not reflect any

  judgment about the incident.

        15.    I have read the Complaint filed in this lawsuit, including the portions of

  the Complaint that describe the open and intellectual debate in which Students A, B

  and C wish to engage. The incidents reported to BRT generally do not involve the

  type of debate described by Students A, B and C. To the extent political speech has

  been reported to the BRT, those reports touch on views on both ends of the political

  spectrum. For example, on January 19, 2016 a student of color reported that he was

  told by an unidentified man, “I’mma be like Donald Trump, if you ain’t a U.S. citizen,

  get the fuck out.” On the other hand, on February 4, 2017, a student reported that in
                                             5
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  a University of Michigan Facebook group a student posted an inappropriate

  illustration that “appears to be mocking our current president Donald J. Trump.”

        16.    The limited role of the BRT—which does not include investigating or

  punishing anyone—has led to some vocal criticism from students who feel that the

  University is not doing enough to combat bias on campus.                           See, e.g.,

  https://www.michigandaily.com/section/campus-life/despite-university-response-

  bias-incidents-minority-students-still-feel-unsafe, attached as Exhibit 2.

        17.    I believe that BRT plays an important role on the campus in providing

  support for our students, particularly students who feel especially vulnerable or come

  from marginalized communities. The BRT’s educational, referral and support services

  provide tremendous value to our University community. They do so, though, not

  through any coercion or discipline, but simply by being willing to listen to and support

  students in need of assistance.

        18.    This week the University added language to the BRT website to

  emphasize the voluntary and non-disciplinary nature of the BRT. Among other

  language, the following was added:

        The BRT is not a disciplinary body. The Office of Student Conflict
        Resolution is responsible for disciplinary proceedings. The BRT may
        discuss with a student how to file a complaint with the OSCR or may
        itself refer a matter to OSCR if it appears that a violation of University’s
        Statement of Student Rights and Responsibilities has been alleged, but it is not
        the role of the BRT to investigate or determine whether a reported
        incident involved bias or a violation of university policy. The BRT may
        invite persons alleged to be responsible for reported incidents to meet
        with a representative of the BRT to discuss the impact of the incident on
                                               6
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            others, but participation in this process is entirely voluntary. The BRT’s
            sole purpose is to assist those who feel aggrieved by incidents of bias and
            to promote respect and understanding among members of the University
            community.

  See Ex. 1. At the same time, language was added to emphasize that inclusion of an

  incident on the BRT log of reported incidents does not mean that bias was found to

  have occurred:

            Because the BRT does not make determinations or judgments about
            whether bias occurred, inclusion of an incident on the log does not mean
            that bias was in fact involved. A bias incident may involve speech that
            is protected by the First Amendment.

  See id.

  Expression of “Unpopular” Views on Campus

            19.   As noted above, I have reviewed the allegations in the Complaint that

  Students A, B and C wish to express unpopular views on such subjects as abortion,

  welfare reform, immigration, gender identity, gun rights, the “wage gap” between men

  and women, affirmative action, Title IX, and support for President Trump. Compl.

  ¶¶ 86-128.

            20.   The University has a strong commitment to freedom of expression that

  includes the voicing of unpopular opinions and dissent. Based on my experience,

  students at the University openly express views similar to those that Students A, B

  and C claim to hold on a regular basis without any investigation or punishment,

  including in campus publications and outside media sources. In fact, there are a

  number of student organizations on campus, recognized by the University, whose
                                                7
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  stated purpose is to promote conservative views. Upon request, the University has

  provided them with free office space on a space available basis. The University also

  routinely hosts outside speakers and debate forums where these views are publicly

  discussed.

  Student Groups Recognized by the University

        21.    The University has a formal process for the recognition of student

  groups that contribute to the life of the University. Recognized student groups are

  listed on the Maize Pages website, https://maizepages.umich.edu/, attached as

  Exhibit 3, and are eligible to make use of University facilities and services. Each of

  the student groups discussed in the paragraphs below enjoys University recognition

  and access to University space.

        22.    The University’s College Republicans aim, inter alia, “to make known and

  promote the principles of the Republican National Committee (RNC),” “recruit

  University of Michigan students as members,” and “provide a comfortable/safe

  environment for socialization of conservative students on campus.”                 See

  https://maizepages.umich.edu/organization/collegerepublicans, attached as Exhibit

  4. The group is active on campus. In September 2016, they formally and publicly

  endorsed        Donald            Trump        for       President.                See

  https://www.michiganreview.com/umich-college-republicans-endorse-donald-

  trump/, attached as Exhibit 5. During the 2016 election cycle, the group also attended

  campaign events, canvassed for Congressman Fred Upton and State Representative
                                            8
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  Brandt Iden, and made arrangements to assist Michigan Republican Party Chairman

  Ronna          Romney           McDaniel           on         Election            Day.        See

  https://www.michigandaily.com/section/elections/campus-groups-aim-energize-

  students-vote-prior-election-day, attached as Exhibit 6.

         23.     The Federalist Society, based out of the University of Michigan Law

  School, “is a non-profit membership organization dedicated to bringing conservative

  and          libertarian        ideas       into           legal            education.”       See

  https://www.law.umich.edu/journalsandorgs/Pages/FederalistSociety.aspx,

  attached as Exhibit 7. The Society aims to “provide[ ] opportunities for members to

  debate and discuss these ideas among themselves, and adds necessary and desirable

  diversity of thought to the Law School and the University community.” Id. The group

  also hosts debates. For example, on October 23, 2017, the Federalist Society hosted

  an event with Professors Josh Blackman and Richard Primus, who debated the

  constitutionality          of   President        Trump’s           travel      ban.           See

  https://fedsoc.org/chapters/MI/michigan-student-chapter, attached as Exhibit 8.

         24.     The Michigan Review is “an independent, student-run journal of campus

  affairs” that was founded “to bring a conservatively-based review to the University of

  Michigan.” See https://www.michiganreview.com/about-3/, attached as Exhibit 9.

  The paper frequently features conservative opinions on a wide range of topics

  including abortion, gun rights, immigration and political correctness, see infra ¶¶ 32,

  34, 41, 45, 54, and has a section on its website for “Satire” articles. It also hosts events
                                               9
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  on campus, such as a debate on October 13, 2017, over President Trump’s

  immigration agenda with Hans von Spakovsky, senior legal fellow at the Heritage

  Foundation, and Bryan Caplan, economist and adjunct scholar at the Cato Institute.

  See     https://www.michiganreview.com/michigan-review-hosts-immigration-policy-

  debate/, attached as Exhibit 10.

          25.      Young Americans for Freedom (“YAF”) is a “non-profit, non-partisan,

  educational organization dedicated to promoting conservative ideas of free enterprise,

  limited government, and a strong national defense” and “provid[ing] a visible presence

  for the Conservative Movement, energiz[ing] other students, and encourag[ing] other

  students to speak out.” See http://www.yafumich.com/about, attached as Exhibit 11.

  Their         issues    of    interest   also    include    entitlements.           See

  http://www.yafumich.com/issues, attached as Exhibit 12. Our campus chapter has

  hosted speakers who have expressed views on a number of topics that overlap with

  the views of Students A, B and C—including Ben Shapiro, Buzz Patterson, Dinesh

  D’Souza, Bill Ayers, Raheel Raza, Tom Price, Deroy Murdock, Jonah Goldberg, Jeff

  Sakwa, David Littman, Jay Nordlinger, George Harbison, and David Horowitz. See

  http://www.yafumich.com/ourevents, attached as Exhibit 13; infra ¶¶ 58, 62, 63, 65,

  71, 76.

          26.      The Adam Smith Society describes itself as an “association of MBA

  Students and business leaders who believe that business, entrepreneurship, and

  commerce are wellsprings that keep this country creative, prosperous, and free.” They
                                             10
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  “aim to build an influential network of future business leaders who are dedicated to

  preserving     and      strengthening        the    free   enterprise     system.”        See

  https://michiganross.umich.edu/clubs/adam-smith-society, attached as Exhibit 14.

        27.     The Young Americans for Liberty (“YAL”) chapter is a libertarian

  organization that champions, inter alia, the free market, freedom of speech and action,

  private property rights, and the right to self-defense, including the Second

  Amendment            right      to      keep         and     bear        arms.            See

  https://maizepages.umich.edu/organization/YAL, attached as Exhibit 15.

  Student Publications, Petitions and Statements

        28.     Opinions and beliefs similar to those attributed to Students A, B and C

  have been expressed openly and forcefully in a number of publications, petitions and

  statements circulated on campus.

        29.     On April 1, 2015, the Michigan Review published a satirical piece entitled

  “SAFE Unveils #UMMolest.” The piece satirized the Students Allied for Freedom

  and Equality group’s campaign to petition the University to boycott, divest from, and

  sanction     companies       involved   in    commercial    affairs     with   Israel.    See

  https://www.michiganreview.com/safe-unveils-ummolest-mvmt/,                    attached   as

  Exhibit 16.

        30.     On April 20, 2015, a student published an article in the Michigan Review

  entitled “The Modern Welfare State Erodes Individual Initiative.”                         See



                                                 11
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  https://www.michiganreview.com/the-modern-welfare-state-erodes-individual-

  initiative/, attached as Exhibit 17.

        31.    On October 4, 2015, a medical student wrote a piece in the Michigan

  Daily criticizing his colleagues’ petition against a planned visit from then-

  Congressman Tom Price. He defended Dr. Price’s votes on the Violence Against

  Women Act, the Constitutional Concealed Carry Reciprocity Act, and legislation

  transferring federal funds from Planned Parenthood to other community health

  centers.      See    https://www.michigandaily.com/section/viewpoints/viewpoint-

  conservatives-should-not-be-excluded-leadership, attached as Exhibit 18.

        32.    On October 17, 2015, a student wrote a pro-life piece in the Michigan

  Review that denounced Planned Parenthood as “an organization that butchers

  children in the womb for profit.” See https://www.michiganreview.com/pro-life-

  dead-on-the-diag/, attached as Exhibit 19.

        33.    On November 9, 2015, a student, a self-described Republican, wrote a

  piece in the Michigan Daily that argued in favor of adding “political and intellectual

  discrimination”     to    the    University’s    nondiscrimination   policy.       See

  https://www.michigandaily.com/section/viewpoints/victoria-noble-political-

  tolerance-ford-school, attached as Exhibit 20.

        34.    On September 12, 2016, the Michigan Review published a satirical piece

  entitled “Welcome to Michigan!” The post used humor to criticize, amongst other

  things, the dialogue surrounding micro-aggressions, gender politics, trigger warnings,
                                             12
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  and safe spaces.      See https://www.michiganreview.com/welcome-to-michigan/,

  attached as Exhibit 21.

          35.   On September 13, 2016, the Michigan Review posted another satirical

  piece    entitled,   “Navigating   Privilege   Politics   at     U   of      M.”         See

  https://www.michiganreview.com/navigating-privilege-politics-u-m/, attached as

  Exhibit 22.

          36.   On September 29, 2016, a student wrote a piece in the Michigan Review

  denouncing “safe spaces,” “trigger warnings” and political correctness. In the piece,

  “Why I Dropped My English Major,” the student admits that he was “never chastised

  for violating safe space protocols” but “detected a ‘spirit’ of extreme intellectual

  complacency.”        See https://www.michiganreview.com/dropped-english-major/,

  attached as Exhibit 23.

          37.   In the fall of 2016, a student who is the founding chairman of Young

  Americans for Freedom (“YAF”) at the University updated his preferred pronoun on

  official rosters to “His Majesty” to protest the “absurdity” of the University policy

  allowing students to be referred to by their preferred pronouns. The student was

  interviewed on Fox News and had his story shared in major national media outlets

  like          the         Washington           Post.                      See,           e.g.,

  https://www.washingtonpost.com/news/education/wp/2016/10/07/a-university-

  told-students-to-select-their-gender-pronouns-one-chose-his-

  majesty/?utm_term=.cf6970576264, attached as Exhibit 24.
                                            13
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         38.        On November 9, 2016, a student published a piece in the Michigan

  Review entitled “Trump-phobia.” The piece defended President Trump against

  accusations        of    racism,    sexism,     homophobia,        and    xenophobia.       See

  https://www.michiganreview.com/trump-phobia/, attached as Exhibit 25.

         39.        On November 14, 2016, over 300 individuals affiliated with the

  University signed their names to a “#NotMyCampus” petition to condemn what they

  saw          as         an      anti-Trump        bias        on         campus.            See,

  https://www.michigandaily.com/section/campus-life/petition-condemning-

  campus-protests-administrators-statements-gains-support, attached as Exhibit 26.

         40.        On November 21, 2016, a student wrote an article in the Michigan Daily

  arguing that “it’s time to stop calling Trump voters sexists, misogynists, racist [sic] and

  bigots” and that hashtags such as “#NotMyPresident” “represent intolerance.” See

  https://www.michigandaily.com/section/columns/max-rysztak-it-time-argue-unity,

  attached as Exhibit 27.

         41.        From November 28 through November 30, 2016, the Michigan Review

  published a series of four articles in which two students debated whether abortion

  should be legal.             See https://www.michiganreview.com/abortion-debate-series-

  abortion-not-legal/,                 attached            as               Exhibit           28;

  https://www.michiganreview.com/abortion-debate-series-abortion-legal/, attached

  as Exhibit 29; https://www.michiganreview.com/abortion-debate-series-round-



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  two/, attached as Exhibit 30; https://www.michiganreview.com/abortion-debate-

  series-round-three/, attached as Exhibit 31.

        42.     On January 12, 2017, the Michigan Daily quoted the student president

  of the University College Republicans, saying that the group was “thrilled” about

  President Trump’s 2016 victory and eager to help University Regent Ron Weiser in

  his      campaign       for      Michigan         Republican       Chair.           See

  https://www.michigandaily.com/section/government/michigan-college-democrats-

  and-republicans-reflect-2017-plans-following-trump, attached as Exhibit 32.

        43.     On February 1, 2017, a student published an article in the Michigan Daily

  denouncing the “unilateral criticism” of and “hateful rebuke” against President

  Trump.      See https://www.michigandaily.com/section/columns/nicholas-tomaino-

  mythology-illegitimacy, attached as Exhibit 33.

        44.     On February 13, 2017, a student published an article in the Michigan

  Review criticizing Students4Justice, a student organization, for demanding that the

  University allocate “space on central campus for Black students and students of color

  to organize, and do social justice work,” calling their proposal “unprincipled and

  laughably regressive.” See https://www.michiganreview.com/u-ms-students4justice-

  demanding-segregated-space-campus/, attached as Exhibit 34.

        45.     On March 27, 2017, a student published a piece in the Michigan Review

  defending the President’s travel ban entitled, “Ninety Days: Donald Trump and the



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  Refugee Crisis.” See https://www.michiganreview.com/ninety-days-donald-trump-

  refugee-crisis/, attached as Exhibit 35.

           46.        On April 1, 2017, the Michigan Review published a satirical piece entitled

  “Signs         of     Bigotry    Ignored     in    Angell    Hall    Architecture.”        See

  https://www.michiganreview.com/signs-bigotry-ignored-angell-hall-architecture,

  attached as Exhibit 36.

           47.        On April 5, 2017, a student published an article in the Michigan Review

  criticizing both liberal and conservative positions on affirmative action in college

  admissions decisions.            See https://www.michiganreview.com/affirmative-action-

  college-admissions/, attached as Exhibit 37.

           48.        On April 15, 2017, a student published a piece in the Michigan Review

  entitled, “Students Act Like Little Fascists Because They Refuse to Grow Up,” in

  which he used sarcasm and humor to criticize students at two other universities for

  “intolerance” who protested against a scheduled speaker on race and policing. See

  https://www.michiganreview.com/students-act-like-little-fascists-refuse-grow/,

  attached as Exhibit 38.

           49.        On May 23, 2017, the University’s College Republicans President and its

  Vice President of Internal Affairs praised President Trump’s budget proposal in the

  Michigan Daily. See https://www.michigandaily.com/section/news/trump-budget,

  attached as Exhibit 39.



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        50.    On December 6, 2017, the Michigan Review Editorial Board published

  an op-ed entitled “Richard Spencer Has a Right to Speak” to voice support for the

  University’s negotiations to accommodate Richard Spencer’s request to speak on

  campus.       See   https://www.michiganreview.com/richard-spencer-right-speak/,

  attached as Exhibit 40.

        51.    On December 7, 2017, a student published a piece in the Michigan

  Review on what he sees as “disturbing” affirmative action practices in faculty hiring.

  He argued that “wording job listings and applications to signal ‘we are not interested

  in white men’ without outright saying the words themselves is an unacceptable means

  to an unsettling end.”     See https://www.michiganreview.com/affirmative-action-

  frankenstein-u-m-bypasses-prop-2/, attached as Exhibit 41.

        52.    On December 15, 2017, the Michigan Review published a pro-life piece

  by a Democrats for Life member entitled, “What Does it Really Mean to be Pro-Life?”

  See https://www.michiganreview.com/really-mean-pro-life/, attached as Exhibit 42.

  He argued that the Democratic platform “has been pushed to the farthest extremes

  by groups like Planned Parenthood and its lobbying-arm NARAL” and blamed these

  “abortion-lobby extremists” for the party’s losses in 2010. Id. He also took a jab at

  liberal elitism, writing that, “It can be easy for us as Democrats to retreat into the

  headlines of the New York Times or clips from the latest Jimmy Kimmel monologue to

  convince us of the superiority of our ideas.” Id.



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        53.    On January 5, 2018, a student published a piece highly critical of the

  University’s “costly and pointless diversity plan” (the Diversity, Equity, and Inclusion

  (“DEI”) Plan) for the website of the James G. Martin Center for Academic Renewal.

  See         https://www.jamesgmartin.center/2018/01/university-michigans-costly-

  pointless-diversity-plan/, attached as Exhibit 43.

        54.    On March 6, 2018, a student published a piece in favor of gun rights in

  the Michigan Review entitled, “No More Sitting Ducks: An Argument for Concealed

  Carry at UM.” See https://www.michiganreview.com/no-sitting-ducks-argument-

  concealed-carry-um/, attached as Exhibit 44.

        55.    On April 28, 2018, the outgoing Editor-in-Chief of the Michigan Review

  published a farewell message in which he stated that he had “great confidence that we

  have made excellent strides toward creating a space on campus where all opinions are

  welcome, regardless of partisan ties. We have enshrined a publication for which any

  student can let their viewpoint be heard and contribute to difficult conversations

  regarding complex issues both in Ann Arbor and across the globe.”                    See

  https://www.michiganreview.com/a-fond-farewell/, attached as Exhibit 45.

        56.    That message echoed the sentiments expressed by a student on March

  29, 2016 in an article for the Odyssey. Reflecting on his experience as a conservative

  on campus, that student wrote that he “love[s]” the “engaging policy discussion[s]”

  he has had with liberal students and that his fears that professors “would be pushy

  with their ideologies or if the student body was going to discount my conservative
                                            18
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  views”        have       been        “somewhat         unwarranted.”                See

  https://www.theodysseyonline.com/conservatism-liberal-campus,          attached     as

  Exhibit 46.

  Speakers and Events Hosted or Permitted by the University

        57.     There have been a variety of events sponsored by the University, schools

  within the University, student groups, and others in which speakers have expressed

  views similar to those attributed to Students A, B and C, presented views from a

  conservative perspective, or addressed the importance of preserving free and open

  debate on campus.

        58.     On February 12, 2015, the University’s YAF chapter hosted an event on

  “liberal fascism” with bestselling author and syndicated columnist Jonah Goldberg of

  the National Review. See https://www.michigandaily.com/news/goldberg, attached

  as Exhibit 47. Among other things, Goldberg is the author of “Liberal Fascism: The

  Secret History of the American Left from Mussolini to the Politics of Meaning.”

        59.     On December 9, 2015, leaders and students from the University of

  Michigan Medical School held a closed-press meeting with then-2016 Republican

  presidential candidate Dr. Ben Carson before a campaign stop and fundraiser. See

  https://www.michigandaily.com/section/news/ben-carson-and-u,             attached   as

  Exhibit 48.

        60.     On February 9, 2016, the Federalist Society hosted Ari Cohn of the

  Foundation for Individual Rights in Education (“FIRE”) to discuss free speech on
                                            19
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  college campuses.      See https://www.facebook.com/events/1669111693344933/,

  attached as Exhibit 49.

        61.      On February 23, 2016, the Michigan Review hosted a debate between

  Milo Yiannopoulos and Julie Bindel entitled “Does Feminism Have a Free Speech

  Problem?” Mr. Yiannopoulos’s provocative articles on Breitbart include “Attack of

  the Killer Dykes!”, “Feminist Bullies are Tearing the Video Game Industry Apart,”

  and “Does Feminism Make Women Ugly?” His Twitter hashtag #FeminismIsCancer

  also has generated controversy.       The event was part of Mr. Yiannopoulos’s

  “Dangerous Faggot Tour 2016” and was moderated by Professor Lisa Disch of the

  University’s    Women’s     Studies   and    Political    Science   Departments.    See

  https://www.facebook.com/events/1638591346401727/, attached as Exhibit 50.

        62.      On March 16, 2016, YAF and the Washtenaw County Republicans held

  an event entitled “Why We Are [Politically] Conservative: A Conversation with

  Leaders from the Jewish Community.” Among the speakers were Michigan

  Republican          Party        Co-Chair          Jeff         Sakwa.              See

  https://www.facebook.com/events/1040001969397170/, attached as Exhibit 51.

        63.      On April 7, 2016, YAF and the University’s Central Student Government

  hosted an event with conservative commentator Ben Shapiro, where he described

  attacks on freedom of speech, such as micro-aggressions and the concept of privilege.

  See            https://www.michigandaily.com/section/news/ben-shapiro-talks-truth-

  microaggression, attached as Exhibit 52.
                                              20
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         64.   On April 30, 2016, Michael Bloomberg gave our University’s Spring

  Commencement Address. In his remarks, Mr. Bloomberg spoke out against “safe

  spaces,” “code words,” and “trigger warnings,” calling them “a terrible mistake.” He

  also derided “microaggressions,” saying that “One of the most dangerous places on a

  college campus is a safe space because it creates the false impression that we can

  insulate ourselves from those who hold different views. . . . In the global economy,

  and in a democratic society, an open mind is the most valuable asset you can possess.”

  See                     https://www.michigandaily.com/section/news/bloomberg-talks-

  microaggressions-safe-spaces-spring-commencement-speech, attached as Exhibit 53.

         65.   On September 14, 2016, YAF hosted Fox News Commentator and

  National Review columnist Deroy Murdock, who gave a speech entitled “Give me

  liberty,           or           give           me          debt!”                  See

  https://www.facebook.com/events/191093731302600/, attached as Exhibit 54.

         66.   On September 22, 2016, the Federalist Society hosted Karin Agness,

  Founder and President of the Network of Enlightened Women, who spoke on

  feminism     and    conservatism.       See    https://fedsoc.org/events/feminism-and-

  conservativism, attached as Exhibit 55.

         67.   On September 29, 2016, YAL hosted Associate Professor Jon Shields of

  Claremont McKenna College to speak on political diversity in higher education. See

  https://yaliberty.org/news/jon-shields-comes-to-michigan/, attached as Exhibit 56.



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          68.   On October 19, 2016, about 40 students gathered on campus to attend

  the College Republicans’ debate-watching party. Randy Clark, a GOP candidate for a

  Michigan state house seat, addressed the crowd before the debate to encourage

  student political involvement. Several students spoke openly with the Michigan Daily

  about         their     support       for        Donald         Trump.             See

  https://www.michigandaily.com/section/elections/college-democrats-and-

  republicans-hold-watch-parties-presidential-debate, attached as Exhibit 57.

          69.   On October 27, 2016, the Federalist Society hosted Sandra Froman,

  former president of the NRA, to discuss the Second Amendment.                      See

  https://www.law.umich.edu/newsandinfo/features/Pages/guncontrol_110216.aspx

  , attached as Exhibit 58.

          70.   On November 8, 2016, over 50 students from various conservative

  groups at the University of Michigan, including YAF, Students for Life, and the

  Campus Republicans gathered on campus to watch the results of the 2016 election

  and cheer when Mr. Trump won a state. At the event, several students spoke openly

  with the Michigan Daily to express their support for Mr. Trump.                    See

  https://www.michigandaily.com/section/elections/student-republicans-anxiously-

  await-results-election-watch-party, attached as Exhibit 59.

          71.   On November 30, 2016, YAF held an event on “progressive censorship”

  with David Horowitz, the founder and president of the David Horowitz Freedom

  Center and director of Discover the Networks, a website that tracks individuals and
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  groups on the political left. Mr. Horowitz has led advertising campaigns condemning

  the boycott movement against Israel on college campuses. His books include:

  “Progressive Racism,” “The Black Book of the American Left,” and “The Professors:

  The     101      Most      Dangerous       Academics       in      America.”          See

  https://www.facebook.com/events/1060354250753135/, attached as Exhibit 60.

        72.     In the fall of 2017, the University offered a course entitled “Beyond

  Partisanship,” a course that sought to investigate issues on which a significant majority

  of Republicans and Democrats agree. See https://record.umich.edu/articles/course-

  promotes-search-political-common-ground-solutions, attached as Exhibit 61. One of

  the leaders who participated in the course was Beth Myers, GOP strategist and former

  Mitt Romney campaign manager. Id.

        73.     On October 4, 2017, the Gerald R. Ford School of Public Policy and

  Poverty Solutions presented a lecture by Arthur Brooks, president of the American

  Enterprise Institute. The lecture was entitled “Escaping Poverty Through

  Entrepreneurship.” Brooks is the author of eleven books on topics including the role

  of government, economic opportunity, happiness, and the morality of free enterprise.

  His latest book is “The Conservative Heart: How to Build a Fairer, Happier, and More

  Prosperous America.” See http://fordschool.umich.edu/events/2017/poverty-and-

  public-policy-w-arthur-brooks-president-american-enterprise-institute, attached as

  Exhibit 62.



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        74.    On October 11, 2017, the American Enterprise Institute Executive

  Council and College Republicans hosted a lecture and Q&A session with Dr. Charles

  Murray of the American Enterprise Institute. Dr. Murray is the author of “The Bell

  Curve” and “Losing Ground.” He is also the author of “What It Means to Be a

  Libertarian,” “Coming Apart,” and “By the People: Rebuilding Liberty Without

  Permission.” See https://www.facebook.com/AEIUofM/, attached as Exhibit 63.

        75.    On October 25, 2017, the College Republicans hosted an event with

  Michigan gubernatorial candidate and State Senator Patrick Colbeck. Mr. Colbeck

  addressed a wide range of issues including government spending, political discourse

  on college campuses, and the refugee crisis. Mr. Colbeck said he had encouraged

  Governor Rick Snyder to “keep his finger on the pause button in regards to Syrian

  refugees.”   See https://www.michigandaily.com/section/government/republican-

  gubernatorial-candidate-speaks-candidacy, attached as Exhibit 64.

        76.    On October 26, 2017, YAF hosted conservative speaker Lt. Col Buzz

  Patterson, former Senior Military Aide to President Bill Clinton. The event focused

  on Mr. Patterson’s experiences in the Clinton White House and “what really

  happened” in in the 2016 presidential election. Noting that Mr. Clinton was “not

  quite the commander-in-chief [he] had expected,” Mr. Patterson accused Mr. Clinton

  of opting to watch golf instead of prevent thousands of Kurds from dying in Iraq. He

  also claimed the Clintons’ marriage was something of a farce and accused Mr. Clinton

  of losing the nuclear codes for “days or months” in the wake of the Monica Lewinsky
                                           24
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  scandal.     See https://www.michiganreview.com/former-clinton-military-aide-tells-

  students-really-happened, attached as Exhibit 65.

         77.     On November 2, 2017, YAF co-hosted a panel discussion on

  immigration policy called “Who Should We Let In?” The event featured Reihan Salam

  of Slate and National Review, who “argues from a conservative perspective that open-

  border policies will train important social and political institutions, in part by

  dramatically              increasing               inequality.”                        See

  https://www.facebook.com/events/839749412854587/, attached as Exhibit 66. It

  also featured Hrishikesh Joshi, who “contends . . . that partial border enforcement is

  both unjust and bad public policy.” Id.

         78.     On December 4, 2017, the University’s Ford School of Public Policy

  hosted a dialogue on federal tax reform between Dave Camp, a former Republican

  Congressman from Michigan and Chair of the House Ways & Means Committee, and

  Ford School Dean Michael S. Barr. The talk was moderated by President Mark S.

  Schlissel.     See https://news.umich.edu/federal-tax-reform-a-bipartisan-dialogue/,

  attached as Exhibit 67.

         79.     On January 8, 2018, Nathan Williamson, Field Representative at the

  Leadership Institute, which provides training for conservative activists, brought a

  giant beach ball labeled “Free Speech” to the Diag. Students wrote a variety of political

  messages          on       the         ball        without        incident.            See



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  https://www.michigandaily.com/section/campus-life/students-share-thoughts-free-

  speech-beach-ball-display, attached as Exhibit 68.

        80.    On January 30, 2018, the American Enterprise Institute Executive

  Council held a lecture and Q&A session on “The Iran Deal, Iran Protests, and the

  Future of the Middle East” with AEI scholar Michael Rubin.                         See

  https://www.michiganreview.com/middle-east-policy-age-trump-talk-michael-

  rubin/, attached as Exhibit 69.

        81.    On February 13, 2018, the College Republicans hosted an event on

  ideological diversity featuring conservative pundit Charlie Kirk. Mr. Kirk is the

  Founder and CEO of Turning Point USA, a national student movement whose

  mission is to educate students about the values of limited government and free

  markets.     See   https://www.michiganreview.com/u-m-college-republicans-host-

  turning-point-usa-founder-charlie-kirk/, attached as Exhibit 70.

        82.    On February 19, 2018, Doug Bandow of the Cato Institute gave a speech

  to the Federalist Society entitled, “The Expansive Welfare State: Financial and Social

  Collapse.” See https://www.facebook.com/fedsocumich/, attached as Exhibit 71.

        83.    On February 19, 2018, the Gerald R. Ford School of Public Policy,

  Center for the Education of Women, Wallace House, Institute for Research on

  Women and Gender, University of Michigan Law School, Department of Political

  Science, and Office of the Provost hosted Ana Navarro, a Republican strategist and



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  political     analyst     for   CNN       and        CNN       en   Español.        See

  http://fordschool.umich.edu/events/2018/ana-navarro-gop-strategist-and-political-

  contributor-cnn-abc-news-and-telemundo, attached as Exhibit 72.

         84.     On February 20, 2018, the Wallace House had The New York Times

  columnist Bret Stephens speak on “Free Speech and the Necessity of Discomfort.”

  The       speech    was     published    in        The   New    York   Times.       See

  https://www.nytimes.com/2018/02/22/opinion/free-speech-discomfort.html,

  attached as Exhibit 73.

         85.     On April 11, 2018, YAF had Christina Hoff Sommers speak on “Where

  Leftist Feminism Went Wrong.” The event focused on how “the once noble cause

  of feminism lost its way and why it may take conservative women to put it back on

  track.”      See https://www.facebook.com/events/155589421934745/, attached as

  Exhibit 74.

  Forums for Debate and Discussions

         86.     Finally, there are several organizations on campus that provide a forum

  for precisely the kind of open and robust intellectual debate in which Students A, B

  and C say they wish to engage.

         87.     The Michigan Political Union (“MPU”) is a student-led group that

  “provides a non-partisan parliamentary forum to facilitate discussion and debate on

  contemporary political issues. The organization prides itself on its openness to

  provide a place for those throughout the political spectrum to communicate and its
                                                27
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  willingness   to    tackle   tough    and   at   times   controversial   issues.”     See

  https://maizepages.umich.edu/organization/mpu, attached as Exhibit 75. In recent

  years, its events have included debates on:

                     a. The merits of U.S. refugee policy on January 19, 2016, debating a

  resolution that “The United States of America should suspend the admittance of

  Syrian refugees into the country,” see https://maizepages.umich.edu/event/832827,

  attached as Exhibit 76;

                     b. Various topics including campaign finance, gay marriage,

  affirmative action, and the future of the Supreme Court, on March 8, 2016, see

  https://maizepages.umich.edu/event/832838, attached as Exhibit 77;

                     c. The merits of the Black Lives Matter movement on September 27,

  2016, see https://maizepages.umich.edu/event/1079641, attached as Exhibit 78;

                     d. The qualifications of both candidates in the 2016 presidential race

  on October 18, 2016, including a resolution that “due to her negligence while

  handling classified information, American voters should not trust Secretary Clinton

  to      be          the       military’s      next       commander-in-chief,”         see

  https://maizepages.umich.edu/event/1109856, attached as Exhibit 79;

                     e. Immigration, Social Security, Guantanamo Bay, and climate

  change policy on October 25, 2016, debating, inter alia, a resolution that “The United

  States should place a temporary moratorium on all immigration as it readjusts its



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  priorities for admission,” see https://maizepages.umich.edu/event/1122203, attached

  as Exhibit 80.

                   f. Universal     basic     income    on     January    12,    2017,    see

  https://maizepages.umich.edu/event/1179020, attached as Exhibit 81;

                   g. Whether Ann Arbor should become a sanctuary city in response

  to President Trump’s attempted DACA rescission on October 10, 2017, see

  https://maizepages.umich.edu/event/1595617, attached as Exhibit 82;

                   h. Gun      control      policies   on    October      24,    2017,    see

  https://maizepages.umich.edu/event/1624734, attached as Exhibit 83;

                   i. Abortion, the New Deal, and secession on November 2, 2017,

  debating, inter alia, a resolution that “[d]espite the decision to legalize abortion in Roe

  v. Wade, such procedures are an inappropriate use of tax dollars,” see

  https://maizepages.umich.edu/event/1624733, attached as Exhibit 84.

        88.    WeListen is a grassroots organization founded by University students in

  September 2017 to facilitate small-group discussions between liberals and

  conservatives on campus.        See https://www.michigandaily.com/section/campus-

  life/welisten, attached as Exhibit 85. So far, the group has hosted discussions on gun

  control, immigration, the right to protest, refugees, and the death penalty. Id. The

  group, whose leadership reports being equally split between conservatives and liberals,

  says that it makes a particular effort to reach out to conservative students and gets

  about 30 percent conservative attendance at its events. Id. The group aims to show
                                               29
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                                                                                                                                           Search




             About Student Safety       Student Support & Critical Incidents Policies & Resources Programs & Initiatives




           Bias Response Team


              Creating and maintaining a respectful and welcoming environment                                WHAT TO REPORT
              for all to live, learn, work and thrive is a priority at the University of
                                                                                                             Bias may come in many
              Michigan. To that end, a group of professional staff members, the
                                                                                                             forms. You may not be
              Bias Response Team, focuses on addressing incidents that may
                                                                                                             in a position to judge
              reflect bias against members of the University community based on
                                                                                                             whether a person is
              their identity.
                                                                                                             motivated by actual
              Bias incident reports by U-M students, faculty and staff are                                   bias, but if you feel that
              addressed by the Bias Response Team. The Bias Response Team                                    you may have
              (BRT) is committed to providing support for those who may have been                            experienced bias and
              targets of or affected by bias. The BRT works to ensure that                                   would like to discuss
              appropriate University resources and expertise are made available to                           the incident, please call
              anyone who feels they have been harmed by bias. Therefore, anyone                              734-615-BIAS (2427).
              who feels they have been affected by an incident of bias is
                                                                                                             Bias incidents may
              encouraged to make a report to the BRT, so the University can offer
                                                                                                             involve conduct that
              assistance. The BRT cannot impose discipline and no one is required
                                                                                                             does not violate any law
              to participate in any aspect of the BRT’s work. Its purpose is to assist
                                                                                                             or university policy.
              those who feel aggrieved, to help students, faculty or staff understand
                                                                                                             Some cases, however,
              how their behavior has affected others and, over time, to contribute to
                                                                                                             do involve conduct that
              the maintenance of respect and understanding among members of
                                                                                                             may violate federal,
              the University community.
                                                                                                             state, or local laws or U-
                                                                                                             M policies. Below are
                                                                                                             some examples of
              WHAT IS A BIAS INCIDENT
                                                                                                             policies that may be
                                                                                                             violated, but conduct
                  A bias incident is conduct that discriminates, stereotypes,                                need not violate any
                  excludes, harasses or harms anyone in our community                                        such policy to be
                  based on their identity (such as race, color, ethnicity,                                   considered a bias
                  national origin, sex, gender identity or expression, sexual                                incident.
                  orientation, disability, age, or religion).
                                                                                                             CRIMES MOTIVATED
                  Bias may stem from fear, misunderstanding, hatred or                                       BY BIAS
                  stereotypes. It may be intentional or unintentional.                                       If you have experienced
                                                                                                             a crime, report it directly
                                                                                                             to the Division of Public


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                                                                                            Safety and Security
              The Bias Response Team is comprised of representatives from the
                                                                                            at 734-763-1131 or the
              following units:
                                                                                            Ann Arbor Police
                     Dean of Students Office (DOS)                                          Department at 734-994-
                                                                                            2911.
                     Office for Institutional Equity (OIE)
                                                                                            VIOLATIONS OF THE
                     Office of the Vice Provost for Diversity, Equity, and Inclusion        UNIVERSITY OF
                     (ODEI)                                                                 MICHIGAN STANDARD
                                                                                            PRACTICE GUIDE
                     Division of Public Safety and Security (DPSS)
                                                                                            VIOLATIONS OF THE
                     Office of Multi-Ethnic Student Affairs (MESA)
                                                                                            STATEMENT OF
                     Office of Student Conflict Resolution (OSCR)                           STUDENT RIGHTS
                                                                                            AND
                     University Housing, Diversity and Inclusion
                                                                                            RESPONSIBILITIES
              The Bias Response Team may include other university
              representatives as needed, including staff or faculty from academic
              schools and colleges, human resources, and relevant administrative            WHERE TO REPORT
              units. Community representatives who serve the U-M community may              The University is
              also be notified and asked to assist in educational response efforts.         committed to ensuring
                                                                                            that students, faculty
              The BRT is not a disciplinary body. The Office of Student Conflict
                                                                                            and staff can report
              Resolution is responsible for disciplinary proceedings. The BRT may
                                                                                            incidents of bias in a
              discuss with a student how to file a complaint with OSCR or may itself
                                                                                            confidential setting and
              refer a matter to OSCR if it appears that a violation of University’s
                                                                                            without fear of
              Statement of Student Rights and Responsibilities has been alleged,
                                                                                            retaliation. The staff of
              but it is not the role of the BRT to investigate or determine whether a
                                                                                            these offices has been
              reported incident involved bias or a violation of university policy. The
                                                                                            trained to be welcoming
              BRT may invite persons alleged to be responsible for reported
                                                                                            and sensitive to student,
              incidents to meet with a representative of the BRT to discuss the
                                                                                            faculty, staff, and
              impact of the incident on others, but participation in this process is
                                                                                            community
              entirely voluntary. The BRT’s sole purpose is to assist those who feel
                                                                                            concerns. Where to
              aggrieved by incidents of bias and to promote respect and
                                                                                            report.
              understanding among members of the University community.


                                                                                            WHAT HAPPENS
              HOW TO REPORT A BIAS INCIDENT
                                                                                            NEXT
              We encourage you to use these resources to report incidents and to            After you report an
              encourage others to report if they have been the target of or witness         incident, a member of
              to a bias incident.                                                           the Bias Response
                                                                                            Team will contact you to
              There are several ways you can report a bias incident. The staff              set up a meeting to
              members at these offices are trained to be sensitive to student,              discuss what happened
              faculty, staff and community concerns.                                        and offer support and
                                                                                            assistance. You will
                     Online                                                                 learn about your rights
                                                                                            as a U-M community
                         Report Online                                                      member and the
                                                                                            available response
                                                                                            options. With your input,



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                                                                                            a plan of action will be
                     By Phone                                                               created and
                     Bias Incident Reporting Line: Call 734-615-BIAS (2427) to              implemented with follow-
                     report an incident during normal working hours (Monday-Friday,         up. If you wish, the
                     8:00 a.m.-5:00 p.m.). If it is after hours, leave a message and a      person alleged to be
                     staff member will get back with you by the next business               responsible for the
                     day. Faculty and staff who call the number during normal               incident may be
                     business hours will be connected to the Office for Institutional       contacted and invited to
                     Equity; students will be connected to the Dean of Students             voluntarily meet with a
                     Office.                                                                member of the BRT.
                                                                                            Such a meeting cannot
                                                                                            be compelled, however.
                     In Person
                     Wondering where to report an incident? View our reporting
                     areas. These offices and resources exist to support students,          BIAS INCIDENT LOG
                     staff and faculty.                                                     The Bias Response
                                                                                            Team updates a log of
                                                                                            reported incidents on a
              Download the How to report an Incident PDF to print, post, and
                                                                                            weekly basis to provide
              share this information.
                                                                                            the U-M community with
                                                                                            general information on
                                                                                            the type of conduct that
                                                                                            is being reported, where
                                                                                            the conduct is occurring,
                                                                                            and what actions have
                                                                                            been taken to address
                                                                                            the reported incidents.
                                                                                            Because the BRT does
                                                                                            not make determinations
                                                                                            or judgments about
                                                                                            whether bias occurred,
                                                                                            inclusion of an incident
                                                                                            on the log does not
                                                                                            mean that bias was in
                                                                                            fact involved. A bias
                                                                                            incident may involve
                                                                                            speech that is protected
                                                                                            by the First
                                                                                            Amendment.

                                                                                            View the Bias Incident
                                                                                            Log



                                                                                            BIAS INCIDENT
                                                                                            PREVENTION
                                                                                            Expect Respect is a
                                                                                            unique partnership
                                                                                            among students, faculty,
                                                                                            and staff hoping to unite
                                                                                            our community. It is an


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                                                                                                       educational initiative that
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Minority students disappointed in University’s response to bias incidents | The Michigan Daily
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                Minority students disappointed in University’s
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                Wednesday, February 22, 2017 - 7:29pm




                President Mark Schlissel at a Central Student Government Assembly meeting in the Union in
                November 2016. Buy this photo

                Kevin Zheng/Daily

                KAELA THEUT
                Daily Staff Reporter


                When posters promoting white supremacy were found covering the walls of University
                of Michigan buildings on multiple occasions last fall, students, including Art & Design
                senior Keysha Wall, tore them down. When Islamophobic messages were chalked on the
                Diag last spring, a group of Muslim students were some of the first to grab rags and
                buckets of water to wash the messages off themselves.
                As bias incidents continue to occur across campus despite University-wide emails
                denouncing the actions of the perpetrators, students have started to question the

https://www.michigandaily.com/section/campus-life/despite-university-response-bias-incidents-minority-students-still-feel-unsafe[6/14/2018 11:35:36 AM]
Minority students disappointed in University’s response to bias incidents | The Michigan Daily
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                effectiveness of the way the administration responds to the attacks. Many have also
                called out University President Mark Schlissel for not adequately affirming his support
                for what they believe is minority students on campus.
                Wall, a member of the University’s chapter of By Any Means Necessary, expressed her
                disappointment in the University’s response to the posters targeting minority groups on
                campus that occurred earlier this year. She believes the perpetuation of bias-related
                incidents is contingent on the lack of administrative pushback against hate speech.
                “We can say that these attacks began with the racist and fascist fliers that started going
                up last semester,” she said. “Every time they went up, it was students, myself included,
                who tore them down. During this, the University's official statement was that they would
                take no action against ‘free speech,’ although I think we can all agree that what those
                fliers were expressing was hate speech, not free speech. And so the fliers continued to be
                put up.”
                Despite students’ expressions of anger regarding the chalkings and posters, the
                University legally could not remove either, as they were posted in areas meant for the
                dissemination of information. If government-financed state universities adopt speech
                codes preventing free speech, organizations like the American Civil Liberties Union
                argue such regulations violate the First Amendment and constitute government
                censorship.
                University spokesman Rick Fitzgerald said though the University cannot remove fliers
                or chalkings on the basis of content, it did remove the fliers from places where postings
                are not allowed. He further explained how, as a place of higher education, the University
                seeks to combat hateful speech through education.
                “The general philosophy is that the First Amendment right is interpreted broadly, by us
                and by the courts, to mean all kinds of speech, including writings or posters or
                chalkings,” he said. “We believe that the best approach to combat speech that is hateful,
                or that we think is inappropriate or that we disagree with, is the use of more speech and
                education. The educational component is a really important part of our mission and our
                responsibility, to help educate the young people and others who are part of our
                University community, and that's a role we take very seriously.”
                Fitzgerald noted if speech contains threats or promises of harm, the University and law
                enforcement can get involved. He also pointed to the University’s bias response team as
                a unique feature that not all schools have to combat bias incidents.
                “If I threaten to do something, physical harm to you, that’s a threat and is dealt with
                differently than speech,” Fitzgerald said. “Having a bias response team is not something
                that all campuses have, our own Division of Public Safety and Security and our own

https://www.michigandaily.com/section/campus-life/despite-university-response-bias-incidents-minority-students-still-feel-unsafe[6/14/2018 11:35:36 AM]
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                police force that is sensitive to and trains specifically for college campuses is not
                something that every campus has.”
                In response to the racist poster incidents, student organization Students4Justice drafted a
                petition to Schlissel in September with a list of demands. These demands included
                requests for Schlissel to declare solidarity with students of color, schedule more office
                hours and time for students to voice their concerns to the president directly, and to
                display a Black Lives Matter flag — as means of addressing the humanity of Black
                students.
                The petition was re-drafted in February after racist and anti-Semitic emails were sent out
                to University engineering and computer science students, and a prayer rug in the Shapiro
                reflection room was defiled. Though the University released official statements
                condemning the incidents, Wall believes administrators need to take more aggressive
                action in punishing the perpetrators.
                “When those racist and anti-Semitic emails went out, and students, outraged and scared,
                marched to President Schlissel’s front door, he asked what he should do, what the
                University should do, what we wanted him to do, about the situation,” Wall said. “But
                the fact of the matter is that his concern was a long time coming, because this was not a
                new situation. Each time the University has done nothing to protect its students from
                violence, racism and bigotry. They do two things: They are letting us know we don't
                matter, and they are making it clear to racists and fascists and bigots that they won't face
                any repercussions for harming students.”
                Walls explained that one of the ways students can protect their rights, and the rights of
                vulnerable people on campus, is to protest — even if the University opposes their
                methods. She affirmed how powerful students can be when they come together.
                “Student strikes and protests are incredibly powerful,” she said. “I often think that we
                lose sight of the sheer amount of power we as the student body have when influencing
                what goes on here on campus, and also in the rest of the nation. Right now, we need to
                continue fighting for our most vulnerable peoples, especially undocumented students.
                We must also set the example for the University and the rest of the nation, and we
                cannot wait to only do so if the University gives us the OK to protest.”
                Other social groups have attempted to harness the power of student activism. In an
                October meeting in the Michigan Union, Students4Justice leader Vikrant Garg, a Public
                Health student, said the administration needs to acknowledge the large amount of
                emotional and physical labor student activists put into their work. He also explained
                how, through student activism, Students4Justice attained a space in the Union to
                organize and reflect after meeting with Schlissel.


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                “We looked at the administration to be people who are receptive to student activism and
                student influences, and open to change,” Garg said. “There is a lot of unpaid emotional,
                physical and academic labor from students of color and other marginalized students on
                this campus — so this space that was created, was created in response to student
                activism on this campus and that has yet to be acknowledged by the administration.”
                To show their disappointment in the administration’s response to recent bias incidents,
                members of Students4Justice have called for more protests as well — the most recent
                being the Campus Day Silent Protest on Feb. 17. This event was coupled with the
                release of a document titled, “Letter to President Schlissel #SchlisselWYA,” which
                voiced the group’s dissatisfaction with Schlissel for not answering its demands or
                voicing solidarity with its cause.
                The group expressed frustration that Schlissel responded to a petition from supporters of
                President Donald Trump last fall who stated they did not feel safe on campus, but has
                not yet responded to their demands for a more inclusive campus.
                “When our demands were first presented to you over dinner, the demands were glossed
                over and forgotten,” the letter reads. “Interestingly enough, according to your post-
                election interview with NPR in Fall of 2016, you reached out to the students who
                supported President Donald Trump after a simple Google document, #NotMyCampus,
                was sent out. It is very frustrating as an activist to not be acknowledged despite the time
                we dedicate to change on this campus for marginalized groups, whereas it takes a single
                Google document for primarily white students with oppressive opinions to grasp your
                attention.”
                The letter also criticized Schlissel’s lack of understanding regarding his role of power in
                the University, and accused him of relying completely on his Diversity, Equality, and
                Inclusion plan — released last October — to avoid discussions of race.
                “You need to understand your own identities and the power you have in creating a
                culture that is not oppressive for marginalized students,” the letter reads. “Instead, you
                lean on the Diversity, Equity, and Inclusion Plan to prove your commitment to
                diversity.”
                The DEI plan was put into place with the goal of achieving a diverse and inclusive
                campus over the next five years, through initiatives including the increase of staff
                diversity, retention of under-privileged students and the assurance of equal
                compensation for all races, genders and identities. The overall plan comprises 49 unit
                plans created by all school, colleges and departments at the University. Two student
                panels consisting of 25 undergraduate and graduate students each convene every month
                to discuss new strategies and ideas with DEI leaders.


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                Fitzgerald noted the plan was conceived as a sort of “ground-up initiative,” and students
                are still encouraged to voice their ideas and opinions to improve its quality.
                “The plan was intended from the very beginning to be one that is updated and evolved; it
                was never thought:‘Here’s the five year plan, follow that and we will see you in five
                years,’ ” he said. “Updates and adjustments along the way are expected, and student
                input is critically important to that effort.”
                In an interview earlier this month, Chief Diversity Officer Rob Sellers, vice provost for
                equity and inclusion, explained that though the plan can’t prevent individual hateful
                incidents on campus, it will, over a period of time, create a more inclusive environment.
                “We have a whole lot of incidents that are sparks, and these sparks are being thrown on
                a floor that is full of gasoline, and so these fires are raging,” he said. “(We) cannot
                prevent the sparks. What the DEI is trying to do is create an environment where those
                sparks do not lead to explosions and fires. The fact of the matter is it’s going to take a
                while before we see all of the changes.”
                Wall believes though the plan appears cohesive and proactive on the surface, it does not
                address how the University responds to bias incidents — one of the core concerns of
                groups such as BAMN and Students4Justice.
                “I think one of the main problems with the DEI plan is that it mainly outlines more ways
                in which the University will ‘look into’ racist and biased/bigoted events,” Wall said.
                “Many of the points highlight looking at numbers, doing surveys or opening more lines
                for people to report bigoted events. These things seem proactive on the surface, but the
                fact is the problem has never been the need for more accurate numbers, or the University
                not knowing about the issues that have been plaguing the campus; the problem has
                always been how the University responds to these incidents.”
                Wall explained the importance of ensuring students of color, LGBTQ students and
                immigrant students feel safe and a part of a diverse, inclusionary campus.
                “We cannot be indecisive or weak in our actions now, and it is absolutely the onus of the
                University to prove that these are values that it upholds,” she said.


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UMich College Republicans Endorse Donald Trump - The Michigan Review
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       UMich College Republicans Endorse Donald
       Trump
          Campus, Politics     September 18, 2016        Justin Korfhage




       Acknowledging that much of the rhetoric coming from the campaign early on may have been
       “jarring for some people,” Zalamea insisted that “any Republican is better than Hillary Clinton”
       and that “any vote not for Trump is a vote for Clinton.”
       1at6ev



       College Republicans at the University of Michigan made a formal endorsement of Donald Trump and Mike Pence for
       President and Vice President on Wednesday, September 14, saying in their official statement that “the College
       Republicans at the University of Michigan will officially be endorsing the Trump-Pence campaign for this election.”
       This news comes in the wake of many College Republican chapters’ at various esteemed universities, including,
       Princeton, Penn State, and Harvard, opting not to endorse the GOP presidential nominee—and even going so far as
       to endorse Libertarian presidential candidate, Gary Johnson, as was done at Cornell University.



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            ”
                        Zalamea believes that Trump should receive the full support of the GOP
                        despite the “mudslinging” in the primaries.


       While there are undeniably divisions within the Republican Party when it comes to supporting the Trump-Pence
       ticket, Enrique Zalamea, the president of the University of Michigan College Republicans, told the Michigan Review
       in an interview on Friday, September 16 that there was “a really great response” when they announced the
       endorsement at their mass meeting. In fact the first question raised at the meeting was, “When do we start … when
       do we start campaigning?”

       Zalamea told the Michigan Review that the College Republicans at the University of Michigan will now be formally
       working with the Trump campaign, saying, “We will be hosting some events here pretty shortly.”

       Acknowledging that much of the rhetoric coming from the campaign early on may have been “jarring for some
       people,” Zalamea insisted that “any Republican is better than Hillary Clinton” and that “any vote not for Trump is a
       vote for Clinton.” When asked about many Republicans’ reluctance to support Trump due to his “in-your-face”
       rhetoric and bombastic style, Zalamea wanted to remind voters that “it’s not just one individual coming into office; it’s
       an entire administration.” Zalamea believes that Trump should receive the full support of the GOP despite the
       “mudslinging” in the primaries. However, in the event of a Republican loss in November, he said the blame would be
       “distributed among all of us [Republicans],” not just the “Never Trump” crowd.

       In both the organization’s official endorsement and in his interview with the Michigan Review, Zalamea encouraged
       voters to vote “down-ballot Republican for both your state and congressional candidates” regardless of their support
       of the GOP presidential nominee.

       Here is the full statement: “The College Republicans at the University of Michigan will officially be endorsing
       the Trump-Pence campaign for this election. I know that some you may not agree with all of Mr. Trump’s
       statements and policies, but the campaign is not about one person. Mr. Trump in the White House comes
       with an entire administration of conservatives that, as Republicans, share many of the same ideals that we
       would not see represented under Clinton’s presidency. And any vote not for Trump is a vote for Clinton. But
       regardless of your views on Mr. Trump, I encourage you all to make the effort to go to the polls and vote
       down-ballot Republican for your state and congressional candidates.”

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Campus groups make final push to encourage students to vote before election | The Michigan Daily
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                Campus groups make final push to encourage
                students to vote before election
                Sunday, November 6, 2016 - 9:08pm
                LYDIA MURRAY
                Daily Staff Reporter


                As the election season comes to a close, the University of Michigan’s chapters of
                College Democrats and College Republicans plan to encourage student voting through
                campaign events and watch parties of differing sizes.
                The College Democrats are lauding a campus visit from President Barack Obama on
                Monday, where he will campaign for Democratic presidential nominee Hillary Clinton.
                LSA junior Collin Kelly, chair of College Democrats, wrote in an email interview that
                he hopes Obama’s strong support in the community will encourage students to vote for
                Clinton the following day. In his last visit in 2014, Obama spoke to a crowd of more
                than 1,400 students at the Intramural Sports Building.
                “We could not be more excited to have President Obama on campus,” he wrote. “If
                anyone can energize campus and help us rally volunteers to get out the vote, it's
                President Obama. He is incredibly popular nationwide, and even more so by students.
                We think this rally is just what we need to carry the momentum of the entire campaign
                into Election Day.”
                The College Democrats plan to host their own events including an election eve rally
                featuring Rep. Debbie Dingell (D–Mich.), current state Rep. Gretchen Driskell (D–
                Saline.) who is running for U.S. Rep., University Regent Larry Deitch (D–Bloomfield
                Hills) and state representative candidate Donna Lasinski.
                On Election Day, the organization will also be working with the Clinton Ann Arbor
                coordinated campaign office to get out the student vote.
                “We will be tabling on the Diag, canvassing student neighborhoods, and providing any
                other support we can to make sure students make their way to vote,” Kelly wrote.
                College Democrats is not sponsoring any election watch parties Tuesday night, but is
                instead encouraging its members to join the Students for Hillary viewing.
                On the other side of the aisle, College Republicans have also been working to encourage

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                student electoral participation through smaller events connecting conservative students,
                according to LSA junior Enrique Zalamea, president of College Republicans.
                “In these final days before the election, College Republicans at the University of
                Michigan have been energizing students by attending campaigning events such as last
                weekend where we met CR chapters from around Michigan while canvassing for
                Congressman Fred Upton and State Representative Brandt Iden,” he wrote in an email
                interview with the Daily.
                During Election Day on Tuesday, Zalamea wrote that College Republicans plan to assist
                Chairman Ronna Romney McDaniel, chairman of the Michigan Republican Party, and
                senior MIGOP staff at the Michigan Republican Party Headquarters in Lansing. In the
                evening they will be hosting a private viewing party for their members while
                encouraging other students to attend the public watch party hosted by Fox News.
                Correction: Due to misinformation from a source, an earlier version of this article
                incorrectly stated Young Americans for Freedom are hosting a watch party. The watch
                party is hosted by Fox News.


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                                                                      sponsor debates, speeches and symposia to advance our principles that the state exists to
                                                                      preserve freedom, that the separation of governmental powers is central to our Constitution
                                                                      and that it is emphatically the province and duty of the judiciary to say what the law is, not
                                                                      what it should be.

                                                                      The Society is firmly committed to presenting a variety of perspectives to broaden the
                                                                      exposure of Michigan students and the community. By emphasizing libertarian and
                                                                      conservative legal scholarship, the Society provides opportunities for members to debate and
                                                                      discuss these ideas among themselves, and adds necessary and desirable diversity of
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             EVENTS



                                                                      Apr
                                                                       12        Can Special Prosecutors Ever Be
                                                                                 Objective?
                                                                       2018
                                                                                 Michigan Student Chapter
                                                                     Thursday    University of Michigan Law School
                                                                    12:00 p.m.   100 Hutchins Hall
                                                                       EDT       Ann Arbor, MI 48109


                This event has concluded.                                        Speakers: Geoff Shepard

                                                                                 Sponsors: Michigan Student Chapter




                                                                      Feb
                                                                       15        War Powers Act
                                                                                 Michigan Student Chapter
                                                                       2018
                                                                                 University of Michigan Law School
                                                                     Thursday    100 Hutchins Hall
                                                                    11:50 a.m.   Ann Arbor, MI 48109
                                                                       EDT
                                                                                 Speakers: Robert F. Turner
                This event has concluded.
                                                                                 Topics:   International & National Security Law •



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                                                                                 Sponsors: Michigan Student Chapter




                                                                      Dec
                                                                         4       Ambiguities and the Administrative
                                                                                 State
                                                                       2017
                                                                                 Michigan Student Chapter
                                                                      Monday     University of Michigan Law School
                                                                     4:00 p.m.   100 Hutchins Hall
                                                                       EDT       Ann Arbor, MI 48109


                This event has concluded.                                        Speakers: Raymond Kethledge

                                                                                 Topics:   Administrative Law & Regulation

                                                                                 Sponsors: Michigan Student Chapter




                                                                      Nov
                                                                       29        Should the Supreme Court Bring
                                                                                 Back the Privileges & Immunities
                                                                       2017
                                                                                 Clause?
                                                                    Wednesday    Michigan Student Chapter
                                                                    12:00 p.m.
                                                                                 University of Michigan Law School
                                                                       EDT
                                                                                 625 South State Street
                                                                                 Ann Arbor, MI 48109
                This event has concluded.
                                                                                 Speakers: Alan Gura • Richard Primus

                                                                                 Topics:   Supreme Court

                                                                                 Sponsors: Michigan Student Chapter




                                                                      Nov
                                                                         7       The Constitutional Implications of
                                                                                 the Disappearing Jury
                                                                       2017
                                                                                 Michigan Student Chapter
                                                                      Tuesday


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                                                                                 University of Michigan Law School
                                                                    12:00 p.m.   625 South State Street
                                                                       EDT       Ann Arbor, MI 48109


                This event has concluded.                                        Speakers: Suja Thomas

                                                                                 Topics:   Constitution

                                                                                 Sponsors: Michigan Student Chapter




                                                                      Oct
                                                                       23        The Constitutionality of the Travel
                                                                                 Ban
                                                                       2017
                                                                                 Michigan Student Chapter
                                                                     Monday      University of Michigan Law School
                                                                    12:00 p.m.   625 South State Street
                                                                       EDT       Ann Arbor, MI 48109


                This event has concluded.                                        Speakers: Josh Blackman • Richard Primus

                                                                                 Topics:   Civil Rights • Constitution • International &

                                                                                 Sponsors: Michigan Student Chapter




                                                                      Oct
                                                                       18        Can the Left and Right Find
                                                                                 Common Ground on Criminal
                                                                       2017
                                                                                 Justice Reform?
                                                                    Wednesday    Michigan Student Chapter
                                                                    12:00 p.m.
                                                                                 University of Michigan Law School
                                                                       EDT
                                                                                 625 South State Street
                                                                                 Ann Arbor, MI 48109
                This event has concluded.
                                                                                 Speakers: Vikrant P. Reddy



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                                                                                 Topics:   Criminal Law & Procedure

                                                                                 Sponsors: Michigan Student Chapter




                                                                      Oct
                                                                         5       Bans on Political Apparel at
                                                                                 Polling Places
                                                                       2017
                                                                                 Michigan Student Chapter
                                                                     Thursday    University of Michigan Law School
                                                                    12:00 p.m.   625 South State Street
                                                                       EDT       Ann Arbor, MI 48109


                This event has concluded.                                        Speakers: Wen Fa

                                                                                 Topics:   Campaign Finance

                                                                                 Sponsors: Michigan Student Chapter




                                                                      Sep
                                                                       26        Civil Forfeiture
                                                                                 Michigan Student Chapter
                                                                       2017
                                                                                 University of Michigan Law School
                                                                     Tuesday     625 South State Street
                                                                    12:00 p.m.   Ann Arbor, MI 48109
                                                                       EDT
                                                                                 Speakers: Clark Neily
                This event has concluded.
                                                                                 Topics:   Property Law

                                                                                 Sponsors: Michigan Student Chapter




                                                                      Sep
                                                                       25        The Restructuring of the Ninth
                                                                                 Circuit
                                                                       2017
                                                                                 Michigan Student Chapter
                                                                      Monday     University of Michigan Law School


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                                                                         12:00 p.m.      625 South State Street
                                                                            EDT          Ann Arbor, MI 48109


                This event has concluded.                                                Speakers: Diarmuid F. O'Scannlain

                                                                                         Topics:   Federal Courts

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       WHO WE ARE



       The Michigan Review provides a broad range of in-depth coverage of campus affairs at the University of Michigan.
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       the University of Michigan.

       In Response to Needs and Demands

       December, 1982

       Change does not occur in a vacuum. All political and cultural shifts produce a ripple pattern which penetrates the
       surrounding social fabric.

       The most dramatic cultural shift in recent history took place in the 1960’s and the repercussions of this turbulent era
       continue to be felt in the American political arena.

       The “anti-establishment” attitudes of the 60’s released a series of backlashes unprecedented in U.S. history. In the
       fires of rebellion, a new social conscience was forged. The healthy distrust of authority which emerged brought with
       it a flood of self-proclaimed crusaders for justice. Political activism became the goal of every educated man and
       woman, and for every social ill, real and imagined, federal legislation was offered as a cure.

       College students of the 60’s were overwhelmed by the battle cries of the “War on Poverty,” and at the same time
       plagued by a guilty conscience resulting from our questionable involvement in Vietnam. They leaped feet-first into
       the whirlpool of activism – lashing out against what they mistakenly understood to be the cause of society’s
       problems – the capitalist system.

       But the quest for Utopia by college students during this era proved to be a doomed one. The “War on Poverty” soon
       ended without a victory, leaving taxpayers and minorities as its casualties. Activism became the hobby of a few
       aging actors and sheltered college students, and it became apparent that raw emotion is no substitute for a
       persuasive and rational argument. The deafening screams of the radical left for a “workers’ revolution” drove away
       the very workers they were supposed to attract. The decidedly anti-establishment attitude which prevailed among
       members of all radical groups had the same effect. And so, in search of a cause, the 1960’s student radicals
       proclaimed a takeover of the liberal banner. To fight the establishment, they created their own liberal establishment.

       The decade that followed the left’s shift in position proved to be the demise not only of the worker’s voice, but also of
       the American Dream. To satisfy the demands made by the liberal establishment, the government began to
       implement vast “social welfare” programs which ballooned the national debt to over a trillion dollars. A more



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       damaging effect, however, was the gradual erosion of the work ethic, with its promise of success as the result of
       individual effort.

       The social misconduct of students during the 1960’s brought to the surface a new breed of activists demanding
       change. They demanded change because the political power had become too centralized, and the abuses of power
       too common. The unsatisfied contingent entering college in the late 70’s and early 80’s began to challenge the
       bromides of liberalism with a unique style; unique because they had relinquished the irrational principles of their
       predecessors and had set a new course for a more prudent order. This new brand of radical, repelled by the blindly
       altruistic intentions of their 1960’s counterparts, sought to purge the college activist movement of its guilt-ridden and
       emotional tendencies.

       Thus, the 1980’s brought with them a tide of change in college students, with its roots in a profound respect for the
       free-market and individual liberty. A radical dissenter of conservative origin was born – a dissenter who was not
       concerned so much with maintenance of the status quo as with the creation of a better future.

       The results of the 1980 elections proved that the unsuccessful liberal blueprint for change had been abandoned by
       the American people. The time was ripe for action – and what better setting than Ann Arbor, Michigan, a city
       transformed by the chaos of the “era of upheaval,” to serve as the backdrop for a revival of rational political
       commitment?

       A group of adherents to this new political commitment conceived of a forum in which to present their concerns and
       desires to the rest of the college population. The forum would take the form of a review, a scholarly piece devoted to
       essays, commentary and issues salient to college life.

       The idea was to confront the existing liberal media bias on Michigan’s campuses. The dream had been born, and
       only a spark was needed to ignite the powder-key, of dissatisfaction among radical activists.

       It happened on a Tuesday in October of 1981. An editorial appeared in The Michigan Daily, the University’s student
       newspaper, condemning the College Republicans and its chairman, Thomas Fous. Fous, a former employee of The
       Michigan Daily, sought an appropriate tactical rebuttal. A scheme was devised after a conversation with Alan Miller,
       a Detroit News writer and National Review contributor, who had written an article pertaining to the Dartmouth
       Review’s contemptuous attitude toward the university in Hanover. The scheme involved taking the liberal
       establishment head-on by battling philosophy versus philosophy.

       The drama started to unfold as Fous began contacting sources on the plan to bring a conservatively-based review to
       the University of Michigan. Paul W. McCracken, distinguished economist and presidential advisor, encouraged the
       idea and pledged his support. The enterprise would eventually manifest itself as The Michigan Review. For Fous, a
       former writer for The Flint Journal, the formation of a student publication came easily. He set about the task of
       securing bonafide writers and staff personnel. Ronald J. Stefanski, an English major, proved to be the perfect
       addition to the Review’s mixture of satire and commentary.

       Along with the tasks required to establish such a publication, certain less tangible assets are also necessary to
       insure the longevity of The Michigan Review. A host of reputable individuals have given their acknowledgement and
       support to the enterprise. Among them are: Gerald R. Ford; Russell Kirk, famed conservative intellectual; Peter
       Fletcher, former Republican National Committeeman; Irving Kristol, renowned neoconservative; R. Emmett Tyrrell,
       editor of The American Conservative; and Stephen Tonsor, history professor and conservative intellectual.

       The radical conservative seeks to mesh the essentials of the conservative philosophy with the 1960’s flair for
       instigating reform. The hope is to concretize the “best of the tried and true” with the hope of arriving at a rational
       order, based not on the whims of self-proclaimed social reformers, but on a deep understanding of human nature.
       The quintessential purpose of The Michigan Review is to confront the existing liberal establishment on Michigan’s


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       college campuses by presenting this new perspective in a clear and precise manner.

       The radical conservative nurtured by a generation of idealists, politicized by the 60’s need for social rearrangement
       but not overwhelmed by the emotional and guilt-ridden excesses has arrived on the college campus. Their desires
       and concerns are now articulated in The Michigan Review.

       This essay was originally published in The Michigan Review’s very first issue printed December 1982.

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       The Michigan Review Hosts Immigration Policy
       Debate
          Campus       October 17, 2017      Cole Carnick




       On the evening of October 13th, the Michigan Review hosted a debate between Hans von Spakovsky, senior legal
       fellow at the Heritage Foundation, and Bryan Caplan, economist and adjunct scholar at the Cato Institute. The
       event, which was held at the Pendleton Room in the Michigan Union, focused on the topic: “Does President
       Trump’s immigration agenda harm America?” The debate was moderated by Washington Examiner columnist, Tim
       Carney, who managed the speaking times of the debaters and the following Q&A.

       Over the nearly hour-long debate, Caplan consistently voiced doubt regarding President Trump’s competency,
       commenting at one point that the President is “so intellectually lazy and irrational, he cannot keep his own stories



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       straight.” He continued to argue that “the overall economic benefits of immigration are enormous,” noting that
       immigrants are significantly more productive in America than in their home countries.

       Caplan made a special note of including this economic productivity to both high and low skilled workers, arguing that
       low-skill immigrants work in jobs that increase our economic growth. Seeing no significant difference between illegal
       aliens and legal immigrants, Caplan stated that he hoped to see illegal immigration end by it becoming legal.
       Although he believes that Trump’s proposed immigration policies “pander to popular prejudices” and would harm our
       nation, he does not think it is likely that his policies will be enacted.

       While Caplan decided to address the economic benefits of unfettered immigration, Spakovsky took a more legalistic
       approach to the topic. He argued that the debate over illegal immigration is manipulated by those that “blur the lines”
       between illegal and legal immigration, “so that people who want to make sure that our laws are enforced against
       illegal immigration can be called racists.”

       Although Spakovsky noted that legal immigration is a benefit for our country, with his own parents immigrating to the
       U.S. as WWII refugees, he argued that illegal immigration has massive net costs for our tax base, citing a figure of
       6.3 trillion dollars. He argued that the current immigration system is not broken, but the laws are not being enforced,
       pointing to sanctuary policies in cities like San Francisco and Ann Arbor that provide a haven for illegal immigrants.
       Spakovsky contends that sanctuary policies grant immunity for criminals as they are guarded from federal policies,
       allowing them to evade the law.

       After the two debaters finished speaking, a Q&A followed, providing audience members the opportunity to pose
       questions to the two speakers. In an event covering such a contentious topic, Caplan, Spakovsky and the audience
       members engaged in productive civil discourse.

       For those that missed it, a full video of the debate can be found here.

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                              About Cole Carnick
                              Cole is a junior at the University of Michigan. He can be contacted at carnick@umich.edu, or
                              on Twitter @ColeCarnick. View all posts by Cole Carnick →



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   About


    Leadership:

            Grant Strobl - Advisor
            Jacob Chludzinski - Chairman
            Buddy Brosky - Vice-Chairman
            Megan Sugrue - Treasurer
            Blake Bormes - Secretary

    What We Stand For

    Young Americans for Freedom at The
    University of Michigan is a non-profit, non-
    partisan, educational organization dedicated
    to promoting conservative ideas of free
    enterprise, limited government, and a
    strong national defense. We are not wedded
    to any particularly political party or
    candidates for public office: meaning that
    we advocate for conservative principles
    without the concern of pleasing Washington
    interests. Our goal is to provide a visible
    presence for the Conservative Movement,
    energize other students, and encourage students to speak out.

    Young Americans for Freedom is a project of Young America's Foundation. The two YAF's
    united in 2011. The original Sharon Statement, the founding document of Young

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    Americans for Freedom, can be viewed HERE.

    Who We Are

                                                             Young Americans for Freedom at The
                                                             University of Michigan is made up of
                                                             passionate undergraduate and graduate
                                                             students whose goal is to educate
                                                             students about conservative values and
                                                             the principles of limited government.




    What We Do

    Our goal is to maintain an active and visible presence on the University of
    Michigan campus by promoting our beliefs through a variety of events,
    services and displays. We plan on organizing a display of nearly 3,000 flags
    commemorating those who lost their live on September 11th, 2001. The 9/11
    Never Forget Project is a project of Young America's Foundation.




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                           Political Commentator
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                                                                                 Bill Ayers* (Debating Dinesh
                                Dinesh D'Souza
                                                                                           D'Souza)
                 Bestselling Author & Filmmaker
                                                                               Professor, Co-Founder of Weather
                                                                                          Underground




                                   Raheel Raza                                        Tom Price* (GA)

                President, The Council of Muslims                                Former Secretary, Health and
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                                                                                      Jonah Goldberg
                                Deroy Murdock
                                                                                Senior Editor of the National
               Fox News Contributor & Nationally                                          Review,
                     Syndicated Columnist
                                                                               Author & Syndicated Columnist




                        Andrea Fischer Newman*                                           Jeff Sakwa

                   Regent, University of Michigan                                President, Defeat the Label




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                               David Littmann*
                                                                                      Jay Nordlinger*
               Senior Economist, Mackinac Center
                                                                               Senior editor, National Review
                        for Public Policy




                              George Harbison*                                        David Horowitz

                  Chief Financial Officer at Unitek                            Founder of the David Horowitz
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                        Young Americans
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       Principles:

       We seek a world of liberty; a world in which
       all individuals are sovereign over their own
       lives and no one is forced to sacrifice his or
       her values for the benefit of others.ĉ

       We believe that respect for individual rights
       is the essential precondition for a free and
       prosperous world, that force and fraud must
       be banished from human relationships, and
       that only through freedom can peace and
       prosperity be realized.

       Consequently, we defend each person's
       right to engage in any activity that is
       peaceful and honest, and welcome the
       diversity that freedom brings. The world we
       seek to build is one where individuals are
       free to follow their own dreams in their own
       ways, without interference from
       government or any authoritarian power.

       We challenge the cult of the omnipotent
       state and defend the rights of the individual.

       We hold that all individuals have the right to
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       exercise sole dominion over their own lives,187
       and have the right to live in whatever
       manner they choose, so long as they do not
       forcibly interfere with the equal right of
       others to live in whatever manner they
       choose.

       Governments throughout history have
       regularly operated on the opposite
       principle, that the State has the right to
       dispose of the lives of individuals and the
       fruits of their labor. Even within the United
       States, all political parties grant to
       government the right to regulate the lives of
       individuals and seize the fruits of their labor
       without their consent.

       We, on the contrary, deny the right of any
       government to do these things, and hold
       that where governments exist, they must
       not violate the rights of any individual:
       namely, (1) the right to life -- accordingly we
       support the prohibition of the initiation of
       physical force against others; (2) the right to
       liberty of speech and action -- accordingly
       we oppose all attempts by government to
       abridge the freedom of speech and press, as
       well as government censorship in any form;
       and (3) the right to property -- accordingly
       we oppose all government interference with
       private property, such as confiscation,
       nationalization, and eminent domain, and
       support the prohibition of robbery, trespass,
       fraud, and misrepresentation.

       Since governments, when instituted, must
       not violate individual rights, we oppose all
       interference by government in the areas of
       voluntary and contractual relations among
       individuals. People should not be forced to
       sacrifice their lives and property for the
       benefit of others. They should be lex free by
       government to deal with one another as free
       traders; and the resultant economic system,
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       the only one compatible with the protection187
       of individual rights, is the free market.

       Individuals should be free to make choices
       for themselves and to accept responsibility
       for the consequences of the choices they
       make. No individual, group, or government
       may initiate force against any other
       individual, group, or government. Our
       support of an individual's right to make
       choices in life does not mean that we
       necessarily approve or disapprove of those
       choices.

       Environment:ĉ

       We support a clean and healthy
       environment and sensible use of our natural
       resources. Private landowners and
       conservation groups have a vested interest
       in maintaining natural resources. Pollution
       and misuse of resources cause damage to
       our ecosystem. Governments, unlike private
       businesses, are unaccountable for such
       damage done to our environment and have
       a terrible track record when it comes to
       environmental protection.

       Private Property:ĉ

       Property rights are entitled to the same
       protection as all other human rights. The
       owners of property have the full right to
       control, use, dispose of, or in any manner
       enjoy, their property without interference,
       until and unless the exercise of their control
       infringes the valid rights of others. We
       oppose all controls on wages, prices, rents,
       profits, production, and interest rates. We
       advocate the repeal of all laws banning or
       restricting the advertising of prices,
       products, or services. We oppose all
       violations of the right to private property,
       liberty of contract, and freedom of trade. We
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       defend the right of individuals to form         187
       corporations, cooperatives and other types
       of companies based on voluntary
       association. We seek to divest government
       of all functions that can be provided by non-
       governmental organizations or private
       individuals. We oppose government
       subsidies to business, labor, or any other
       special interest. Industries should be
       governed by free markets.

       Education:

       Education is best provided by the free
       market, achieving greater quality,
       accountability and ewiciency with more
       diversity of choice. Recognizing that the
       education of children is a parental
       responsibility, we would restore authority to
       parents to determine the education of their
       children, without interference from
       government. Parents should have control of
       and responsibility for all funds expended for
       their children's education.

       Healthcare:

       We favor restoring and reviving a free
       market health care system. We recognize the
       freedom of individuals to determine the
       level of health insurance they want (if any),
       the level of health care they want, the care
       providers they want, the medicines and
       treatments they will use and all other
       aspects of their medical care, including end-
       of-life decisions. People should be free to
       purchase health insurance across state lines.

       Foreign Awairs:

       We support the maintenance of a suwicient
       military to defend the United States against
       aggression. The United States should both
       avoid entangling alliances and abandon its
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       attempts to act as policeman for the world. 187
       We oppose any form of compulsory national
       service.

       Self Defense:
       The only legitimate use of force is in defense
       of individual rights — life, liberty, and justly
       acquired property — against aggression.
       This right inheres in the individual, who may
       agree to be aided by any other individual or
       group. We awirm the individual right
       recognized by the Second Amendment to
       keep and bear arms, and oppose the
       prosecution of individuals for exercising
       their rights of self-defense. We oppose all
       laws at any level of government requiring
       registration of, or restricting, the ownership,
       manufacture, or transfer or sale of firearms
       or ammunition.

       Personal Relationships and Choices:
       Sexual orientation, preference, gender, or
       gender identity should have no impact on
       the government's treatment of individuals,
       such as in current marriage, child custody,
       adoption, immigration or military service
       laws. Government does not have the
       authority to define, license or restrict
       personal relationships. Consenting adults
       should be free to choose their own sexual
       practices and personal relationships.

       Contact Information
             23 Benamin Street
            Ann Arbor, MI 48104
            United States
            E: andrewqk@umich.edu

                  



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            Please provide an email in which people can187
            contact the organization:
            andrewqk@umich.edu
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       SAFE Unveils #UMMolest
          Satire    April 1, 2015    Michigan Review




       Last night, the BDS resolution proposed by Students Allied for Freedom and Equality (SAFE) failed to pass Central
       Student Government for the second year in a row. The proposal petitioned the University to boycott, divest from,
       and sanction (BDS) companies involved in commercial affairs with Israel.

       After a long-fought #UMDivest campaign that resulted in 25 CSG representatives voting against and 15 in favor of
       its resolution, SAFE has announced that it will be overhauling its name and strategy: #UMMolest.



                                                       SAFE announces new initiative (Twitter)

       Now SAFE will be pursuing BDSM: Boycott, Divest, Sanctions and Masochism. The change in strategy is due to the
       overwhelming loss at last night’s vote and urgency to support Palestinian human rights through not only divestiture,
       but also erotic acts of domination and submission.



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SAFE Unveils #UMMolest - The Michigan Review
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       “If we can’t use student government as a platform to initiate
                                                                 187change, maybe we can do so through sexual
       dominance and abuse all around campus,” said BDSM activist Ali Ibn Baba. “When students misbehave, the best
       way to control them is always to spank them, slap them around a little, you know?”

       “We will use leather straps to spank students into submission. Then maybe they’ll think twice about that evil empire
       Israel,” explained Ibn Baba. “We also may use rope and hog-ties.”

       SAFE’s inspiration for the new movement comes from the recent novel by E.L. James, 50 Shades of Grey. Ibn Baba
       went on to explain how the protagonist, Christian Grey embodies the “pervasive patronizing patriarchy” of Zionists
       on campus, and that SAFE seeks to reverse this power dynamic through the use of sexual masochism in a
       retaliatory fashion. “If the Central Student Government isn’t responsive to our rhetoric against Zionism, then why not
       put all options on the table?”

       “Palestinian human rights are constantly in bondage,” a spokesperson for SAFE told the Review. “So let’s fight
       bondage with bondage.”

       BDSM advocates plan on making posters and banners to put around campus in addition to hosting a speak-out
       event called 50 Shades of the IDF, in which they will carry out acts of sexual deviance instead of acting as Israeli
       soldiers at checkpoints. “The hope is that students will finally understand that Zionists, just like Christian Grey in E.L.
       James’ book, are the dominant patriarchy, and that Palestinians are nothing more than meek victims, like Grey’s
       slave, Anastasia,” the spokesperson explained.

       “The BDSM movement is just the first step in slapping Israel right off the map,” he added. “First we tie them up, then
       we blind-fold them, then we spank ‘em…then they’ll know how oppressed we feel.”

       When asked about ISIS and the countless acts of violence occurring in the Middle East, the SAFE activist reminded
       the Review that ISIS already had sex slaves.

       “It would kind of take the creative spin off the #UMMolest movement to mock ISIS for something they’re already
       doing,” he admitted. “So we’d rather focus on Israel.”

       Pro-Israel students don’t seem worried though, citing the absurdity of the campaign from the beginning.

       “They get more extreme and absurd every year. At this point it’s just like whatevs,” said an unenthused Ari Gold, a
       business student from New York.

       The latest development in the #UMMolest movement is SAFE’s brand new Edward Said BDSM lounge. Activists
       assure us that the lounge, inspired by Christian Grey’s playroom, will be a safe and inclusive space for all students.

       (Visited 332 times, 1 visits today)
       SHARING

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        The Modern Welfare State Erodes Individual
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          Arts & Culture     April 20, 2015      Jake Thorne




        Ever since its conception, the implementation and adaptation of the welfare state have both intrigued and perturbed
        economists. While many have praised welfare’s ability to maintain and support a minimum societal level of well-
        being for all citizens in their time of need, others have expressed doubts at its level of effectiveness—especially its
        ability to motivate the impoverished out of poverty. In the United States alone, many financial analysts became
        concerned at a sudden spike in citizens dependent on welfare—up almost 10 percent over the past decade (HHS
        Report). These unfortunate statistics represent the manifestation of many economists’ fears surrounding the effects
        of the welfare state—a deadening of personal initiative. In theory, the welfare state should only provide financial
        relief on a temporary basis, lasting only as long as it takes the recipient to re-enter the labor pool. In practice,
        however, the ideological flaws in this idealistic notion reveal themselves. Rather than boosting morale and providing
        the social services necessary to improve the lives of the poor, the modern welfare state in effect traps the
        unemployed under the umbrella of government-provided assistance, effectively limiting the individual self-motivation
        to improve one’s economic status.

        The glaring fault in the welfare state stems from an unintended side effect, known today as the unemployment trap.



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         At its most basic level, the unemployment trap hypothesis    theorizes that by giving welfare benefits to the
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        unemployed, the opportunity cost of returning to work becomes too large, leaving the impoverished “trapped” within
        the welfare system. This notion has been in existence for almost sixty years, beginning with the findings of political
        scientist Charles Murray. In his work, Murray asserts that the welfare state creates a pervasive incentive—a
        government provided benefit that creates adverse effects—that leads to the unemployment trap (Murray, 9). In his
        words, he believed that instead of assisting the poor, government welfare “produced more poor instead” (Murray, 9).
         Since then, multiple studies have been released that support the existence of this financial trap. At the turn of the
        century, studies noted that while the welfare transfer payments steadily increased, the poverty line did not
        (Anderson). As a result, many recipients of welfare realized that they could earn a better, more consistent income
        through welfare support—which included a multitude of benefits—than they could through the market economy.
         Milton Friendman described this phenomenon through a scenario where if a citizen chose to make more money
        than welfare provided, they would then lose their plethora of benefits, including subsidized housing, food stamps,
        and income support (DeLong). In this situation, Friendman argued, it would be completely rational for a welfare
        recipient to lose any self-motivation to re-join the workforce, as the benefits received through the government are
        greater than what can be found on the free market. In practice, economists have seen the negative effects of the
        unemployment trap at work. A study conducted in 1980 concluded that only 12% of welfare recipients in New York
        City would be willing and able to leave the welfare system (Mead). Overall, by providing benefits via welfare
        payments that do not exceed the opportunity cost of searching for a job, an unemployment trap is created, leading
        to a direct decrease in overall individual initiative.

        In an effort to document the effects of the unemployment trap on individual initiative, a comprehensive case study
        conducted by Amy Butler on the effects of the welfare state in Poland during the 1990’s was conducted and appears
        to confirm the suspicions of previous economists. Before any labor statistics were taken, a personality inventory of
        the Polish people revealed some startling results. According to the survey, many of those who had recently lost
        their jobs still held the belief that a new job would automatically seek them out, while in reality the converse is true
        (Mozolowski). As a result, many of whose on government assistance simply lost the desire to search for a new job,
        as they incorrectly assumed that a new form of income would appear without extensive effort. Additionally, the
        study found that many Poles were content to remain on welfare until a “great opportunity” presented itself (Butler,
        11). The study determined that these ideologies were a result of the current setup of the welfare state in Poland,
        and most likely contributed to the dismal statistics found during the study. By 1990, the study found that while 45%
        of Poles had a desire to improve their financial situation, a meager 5% had actually begun to search for a new job
        (Butler, 11). On the other side, many employers were disappointed with the 5% that eventually decided to apply for
        new employment. A survey of employers found that many believed that welfare negatively impacted the Poles’
        ability to think critically on their own, leading to their measured decrease in personal initiative (Butler, 12). This
        startling fact may be the result of government educational facilities set up in Poland. An adjacent study of the
        government educational system at the time discovered that their efforts were both “inadequate” or even
        “nonexistent”, causing many to return back to welfare assistance (Bartyzel). In its entirety, Butler’s study of 1990’s
        Polish welfare shed light onto to initiative-diminishing effects of the welfare state, showing how a combination of
        ideological fallacies and unemployment trapping lead to the deadening of self-motivation.

        The development of the welfare state over the past century has provided ordinary citizens comfort and support in
        knowing that financial assistance can be provided in times of economic downturn. While this system has its
        benefits, many continue to express skepticism over its overall effectiveness, especially concerning its effects on
        personal initiative. From the results of multiple studies, many notable economics have agreed upon the existence of
        an unemployment trap created by government welfare, raising the opportunity costs associated with reentering the
        workforce and convincing many citizens to remain on government assistance. Through the systematic entrapment
        of impoverished citizens under publicly funded financial aid via the unemployment trap, the modern welfare state



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        removes the incentives necessary to motivate the unemployed
                                                              187 to continue to pursue work, leading to the overall
        deadening of personal initiative.

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                               About Jake Thorne
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                               Economics at the University of Michigan. He has been an active contributor to the Review
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      Viewpoint: Conservatives should not be excluded from
      leadership
      Sunday, October 4, 2015 - 3:45pm
      BENJAMIN D. LONG (/AUTHOR/)


      I was disappointed to see several of my colleagues, under the pen name “Concerned Medical Students at
      the University of Michigan Medical School,” criticize the invitation of Dr. Tom Price, a Republican
      member of the House of Representatives and alum of the University of Michigan Medical School, in an
      opinion piece (https://www.michigandaily.com/section/viewpoints/viewpoint-tom-price-visiting-med-
      school) published on Sept. 24, before Price was scheduled to speak. Price spoke at the Medical School as
      part of the “Conversations with Leadership” series, where medical students are able to learn from notable
      Medical School alumni who have become leaders in their fields. Because he is a congressman, chairman
      of the House Budget Committee and an alum, Price certainly qualifies. But my colleagues apparently
      disagree, not because of any lack in leadership credentials, but because they disagree with his political
      views.
      In unintended irony, the authors largely criticize Price for “(maintaining) partisan lines,” although these
      lines are, by definition, maintained by both political parties. They then criticize Price’s votes on various
      issues (unfairly paraphrased by the authors), which were often in line with the overwhelming majority in
      the House of Representatives. My colleagues state they were “not (rebuking) Price’s invitation to speak to
      our medical school,” but they question whether individuals like Price can be promoted as a “model of
      leadership” given his conservative voting record, thereby tacitly implying that neither Price nor any other
      conservative should ever be invited as a speaker. Furthermore, and perhaps more dangerously, the authors
      imply that conservative medical students are not qualified to serve as future physician-leaders, because
      conservatism is allegedly at odds with medical ethics.
      My colleagues insinuate that Price encourages violence against women because he voted against the
      deeply flawed Violence Against Women Act, that he supports gun violence because of his support for the
      Constitutional Concealed Carry Reciprocity Act, and that he seeks to deprive the poor of irreplaceable
      medical services by voting to transfer the public funding of Planned Parenthood to other community
      health centers that provide vital services to poor women.
      Many conservatives opposed the Violence Against Women Act because they believed the bill would have
      the unintended consequence of increasing violence against women. A 2007 study
      (http://www.nber.org/papers/w13186.pdf) from the National Bureau of Economic Research found that in
      states that implemented mandatory arrest laws, where police are required to arrest someone if they
      receive a domestic violence complaint, domestic violence homicides actually increased, possibly because
      abused women were more reluctant to report domestic abuse out of the fear that their partners would be
      arrested.



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      The gun bill that my colleagues cite, the Constitutional Concealed Carry Reciprocity Act, does nothing to
      reduce the number of guns. Rather, it seeks to apply a uniform standard of enforcement to a patchwork of
      state gun laws. It was proposed in response to cases like that of medical student Meredith Graves, who in
      2011 was arrested (http://www.nbcnewyork.com/news/local/Tourist-Loaded-Gun-911-Memorial-Site-
      Check-Security-Arrest-Misdemeanor-Weapons-Charge-Plea-Meredith-Graves-143459496.html) in New
      York City for self-reporting her concealed weapon (which was legal in her home state of Tennessee) to
      police when she learned that guns were prohibited at the 9/11 Memorial. At the time, she was charged
      with a felony that, if convicted, would have ruined her medical career.
      Many who watched the recent videos released by the Center for Medical Progress believe that Planned
      Parenthood was selling fetal tissue for profit (which would be a violation of federal law) since Planned
      Parenthood executives were shown apparently haggling over prices for fetal organs and joking about
      using money to buy luxury cars. For this reason, the House of Representatives voted to transfer the public
      funding of Planned Parenthood to other community health centers that provide vital services to women
      that Planned Parenthood does not provide directly, such as mammograms.
      Certainly, my colleagues have the right to express displeasure with Price’s politics. The ability to freely
      express and challenge ideas is the cornerstone of an open educational environment and a free society. But
      to suggest that individuals are unfit for leadership, or even to speak and be heard, simply because they
      disagree with one’s extremely partisan policy positions is antithetical to both free speech and the spirit of
      diversity at the University. A large part of being a successful physician is having the ability to work with
      patients who may have views and experiences very different from our own. I applaud the Medical School
      administration for inviting a strong conservative voice to our campus, allowing students to hear from
      distinguished individuals with different worldviews. I believe that interacting with individuals with whom
      we may disagree will make us all more thoughtful students and citizens. We should promote a culture
      where all students are heard and encouraged to become America’s future leaders.
      Benjamin D. Long is a second-year Medical student.




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       Pro-Life, Dead on the Diag
          Campus       October 17, 2015       Deion Kathawa




       The Diag, Ann Arbor – Students for Choice (SFC), a pro-choice group at the University of Michigan, held an
       informational event on the Diag on Thursday, Oct. 1st.

       Support was shown by Planned Parenthood by allowing students to create “thank you” cards and pose for pictures
       holding signs that read #StandwithPP, to pass out stickers, buttons, and condoms, and to correct misinformation. In
       the roughly three hours that I spent there, I saw around 50 students visit the table that SFC had set up.
       UMich       One student, Connie, an organizer for SFC, had this to say when asked about her personal opinion on
                   abortion: “It’s complicated. My mother actually had several abortions in China—because of the one-
                   child policy. … I just think women should have a choice—whether to raise a child, abort, give it up for
       adoption. And those options should be safe.”

       One must be willfully ignorant of embryology to believe that what is inside a mother is not a human being. I wonder if
       this is Connie’s view, or if she recognizes the humanity of the unborn but simply averts her gaze? Does she realize
       that the option to abort is never even remotely “safe” for the baby because a successful abortion always results in
       the death of a child?

       Planned Parenthood President Cecile Richards gave sworn testimony before Congress on September 30th,
       admitting that Planned Parenthood’s over 600 clinics do not have a single mammogram machine and thus do not
       provide that service to women, and that abortion is 86% of the organization’s business, not the oft-bandied-about


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       Asked about the hearing, Connie responded, “I’m not sure I want               150930_CMPResponse_Scanlon-1250x650
       to offer my reaction because of how you might want to twist my
       words.” She added, “We have a lot of great resources for women.”

       I spoke with a number of other students—both organizers and
       casual observers—about the event and their views on abortion
       and Planned Parenthood more generally.

       Tyree, a kind student at the university who stopped by the table to
       have a hashtagged picture taken of herself and pick up some
       memorabilia, told me that she thinks it’s “everybody’s choice”
       about whether to avail oneself of an abortion procedure.

       Apparently this egalitarian courtesy stops at babies.

       She continued, “Anyone should be able to get one if they want it. I
       don’t think my personal opinion should decide if someone gets one or not.”

       Her view seems fairly commonplace among the American electorate. For its abortion policy poll, Vox.com solicited
       answers from 1,067 adults. Sarah Kliff breaks it down in her April piece, What Americans Think of Abortion, with a
       chart that shows that over 70% of people “want a woman’s abortion experience” to be “nonjudgmental.”

       “So abortion restrictions are a no?” I asked Tyree.

       She laughed a bit uncomfortably. “I know people in high school and they weren’t at a point where they could have a
       child. It wouldn’t have been good for either the mother or the baby. But I also know others who were fine with having
       the child; that’s what they wanted. I just think the option should be there.”

       Tyree had no opinion on Cecile Richards’ testimony before Congress, as she “isn’t super political.”

       Yet she is able to take a stance on one of the most charged and politicized issues of contemporary America. She
       feels it is not her place to step up and speak out for those who cannot literally do this for themselves. That she
       would allow the powerful to kill the powerless makes my stomach churn.

                                                              But what do I know?
       I was able to connect with a male organizer of the SFC event, Jake, later that day.

       “I think it’s up to the woman,” he explained when asked his view on abortion. “She should have her choice be an
       option regarding healthcare and her own body.”

       I pressed him on Cecile Richards’ testimony that occurred the day before. He was extremely reluctant to even admit
       that the testimony had even happened. I again pressed the point, saying, “The testimony did occur. Are you saying
       that it did not, that Cecile Richards was lying under oath?” He would only say that “Cecile Richards might have had
       her facts wrong. Just because she is the president of Planned Parenthood doesn’t mean that she knows everything
       about the organization.”

       Pressed further, Jake said, “But if this were true, hypothetically, it would be very concerning.”

       He concluded our brief conversation by saying “I’m here to empower women and to support women and their
       healthcare. I stand with Planned Parenthood.”

       The cognitive dissonance and confirmation bias are strong with this one, to say the very least.



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       Some students were reluctant to speak with me after I declared
                                                               187 that I was a reporter for the Michigan Review.
       StandwithPP-187x400
                                 One student, Moe, didn’t want to answer any of my questions on the record when I
                                 caught up with him after he’d left the SFC table. I had my pen poised to take down
                                 notes on his reply to my first question, “Why do you consider yourself to be pro-choice?”
                                 He would only say that he just didn’t “want to be quoted in anything” as he quickly
                                 walked off.

                                     He was brave enough to stand with an organization that butchers children in the womb
                                     for profit but couldn’t take a even a minute out of his own day to stand by those
       convictions in print. It makes you wonder how courageous one really has to be to identify as pro-choice. Just
       enough to pick up your free bumper sticker and condoms, it seems.

       I approached a few students a little ways away from the SFC table, sitting on a bench and one leaning against light
       pole. I introduced myself and asked their opinion on abortion and on the event. One man, Robert, said, “I see myself
       as pro-life. But I don’t fit as pro-life or pro-choice,” as he leaned back to stretch.

       “So you don’t consider yourself pro-life in the standard sense?”

       “No, especially as a dude, you know?” he quipped. “Definitely not my place to be saying anything!” as he laughed a
       bit with his two other male friends.

       But 50 percent of children destroyed in the womb are males, Robert. Will you not speak up for your brothers in the
       womb, and protect them from the abortionist’s forceps?

       The most interesting interview I had that day was with Andy, a non-Christian Unitarian Universalist. “My personal
       religious values inform my political values,” said Andy.

       When asked if he considers himself pro-choice, Andy replied, “Yes. It’s basic healthcare. I’m pro-choice the same
       way that I’m pro hip replacement, pro appendectomy, and pro wisdom teeth removal.”




             ”
                         I’m a man. I’ve never had the opportunity to become pregnant.


       “I think the STD screening, preventing unplanned pregnancies, are hugely important work. I don’t think you can
       separate those from the other work they do,” said Andy.

       When asked his opinion on Richards’ congressional testimony the day before, specifically about Planned
       Parenthood’s admission that they do not, and never have, provided mammograms, he said, “Like other
       organizations, they review out for various procedures [like cancer screenings].”

       He added, “I trust Planned Parenthood. Their hearts are in the right place. And I think the people interrogating
       Cecile Richards for over 5 straight hours were trying to make a political point.”

       I’m sure the millions of babies killed in utero would have preferred reception of actual basic health care like a
       wisdom tooth removal or a hip replacement to death in an abortion. If asked, they would probably also have
       preferred interrogation before Congress to a shot of poison before birth.

       But what do I know?

       In my three hours on the Diag, I did not come across a single person who was pro-life, in the traditional sense.

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                               About Deion Kathawa
                               Deion Kathawa studies philosophy and political science at the University of Michigan. He
                               enjoys ice skating and binge watching Netflix (who doesn't, though?) in his spare time. He
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       Victoria Noble: Protecting political expression
       Monday, November 9, 2015 - 6:25pm
       VICTORIA NOBLE (/AUTHOR/)
       Columnist


       Despite being a historically liberal institution, the University fails to include the prohibition of political or
       intellectual discrimination in its anti-discrimination policy. (http://spg.umich.edu/policy/201.89-1) Across
       campus, the lack of institutional protection for unpopular opinions — including conservative views —
       can have a chilling effect on class discussion and student expression.
       In all academic fields, discussion is critical to understanding the nuance of claims presented about the
       world. In some disciplines, like public policy — which strives to educate students not only on current
       policies but also on how to change them — understanding multiple angles of divisive political issues and
       working with people who hold opposing viewpoints is essential.
       Discussions in my Ford School of Public Policy classes regularly prompt dialogue on contentious
       political issues like minimum wage laws, detention of terror suspects and the far right’s influence in
       Congress. Here, disagreements are political, and discussions often reveal ideology if students participate
       honestly. Group discussions can become more heated than average if one or two students disagree with
       the rest of their peers, and students may avoid expressing views that might conflict with the opinions they
       believe their professors hold.
       Despite the opportunity for disagreement, faculty members require students to participate in discussion,
       and give participation considerable weight toward final grades. Most Public Policy professors who I have
       come into contact with have been amenable to a diverse range of opinions. But, when students can’t be
       sure how accepting a professor will be, they may elect not to express their views at all.
       Susan Collins, dean of the Ford School, told me in an interview that most policy schools across the
       country tend to have greater liberal representation, and past surveys of Ford students show that relatively
       few self-identify as Republicans. Despite this, Collins believes that Ford students should be exposed to a
       wide range of viewpoints.
       “I feel very strongly, and this is a view shared widely around the building,” Collins said, “that as a policy
       school, it’s really essential that people hear and understand and grapple with a range of perspectives, but
       in particular political perspectives.”
       Even still, Collins said that students have expressed to her their discomfort in expressing their views in
       class when they didn’t think any of their classmates shared them.
       As a Republican in the Ford School, I can certainly relate to these students. One of my policy classes
       spends a considerable amount of time in small group discussions, where, in my experiences, the majority
       of group members have tended to share similar views on topics, and I’ve tended to disagree. Sharing my
       opinion to a group of people who believe the opposite can be intimidating, and has been met, on occasion,
       with sarcastic, less-than-flattering remarks.

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       I tend to be outgoing and outspoken, and probably more willing than average to share my thoughts with
       those who might disagree. If I was afraid of sharing my opinions with liberals, I probably wouldn’t have
       identified myself as a Republican in the Daily so many times over the past two years. But when my peers
       don’t take my opinions seriously or make negative comments, it makes me think twice before choosing to
       participate in class discussion again in the future. If I have occasionally felt too uncomfortable to share
       my opinion in class, I can only imagine how my Republican peers might feel.
       In most classes, faculty members seem to do their best to encourage dissenting opinions and highlight
       multiple sides of arguments. This isn’t just inclusive; it’s good pedagogy. To the extent that the Ford
       School aspires to produce effective public servants, it should strive to ensure its students can effectively
       communicate in institutional environments with far greater intellectual diversity than the Public Policy
       school itself. It can’t do that if only one side of every issue is afforded serious consideration.
       Despite expressed openness to ideas from all areas of the political spectrum, it’s clear that the school has
       a long way to go if it truly wants to become as tolerant of different ideologies as it strives to be. A solid
       first step toward this goal doesn’t have to be Ford-specific: Adding political and intellectual
       discrimination to the University-wide nondiscrimination policy could go a long way to assure students
       their views will be respected.
       Should the University continue to neglect this issue, the Public Policy School should draft an anti-
       discrimination policy of its own that specifically prohibits discrimination based on political expression or
       ideology, and strengthens existing measures to promote an inclusive environment conducive to active,
       vocal participation from all students, regardless of background or identity.
       But making the Ford School as diverse in political thought as the government bodies many Ford students
       want to work in after graduation will require much more than a one-off policy change.
       The Ford School should increase representation from political conservatives and Republicans. Better
       outreach to right-leaning student organizations will help students who don’t already have a network of
       Public Policy students to tell them about the program or help them through the application process.
       Even more importantly, the Public Policy School needs to become a place that can credibly claim to
       prospective students an acceptance of a wide range of viewpoints. This might include framing class
       discussions to highlight both sides of an argument, or assigning a paper in one of the required classes that
       asks students to argue a policy position they don’t support, prompting them to give serious consideration
       to an opposing point of view. It may also encourage faculty to avoid party-line generalizations that tempt
       students to think about Republicans and Democrats as being homogenous groups without ideological
       variation, pitted against each other without room for compromise.
       This isn’t to say that conservative students can’t find a place at the Ford School, or benefit from the
       excellent classes it offers. On the contrary, I think that students holding underrepresented ideologies have
       a unique role to play in making the Ford School even better than it already is. By creating an environment
       in which students challenge each other to develop best possible policy solutions, the Ford School can
       more effectively produce leaders who know how to work through the gridlock that plagues government
       today.




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       I doubt that this can happen in classes where the viewpoints expressed are frequently the same, either
       because there are too few students who disagree, or because the ones who disagree don’t feel comfortable
       expressing their views. Progress on this issue will benefit not only campus conservatives but also the
       Public Policy School itself, by helping it provide a more comprehensive education for all of its students.
       Victoria Noble can be reached at vjnoble@umich.edu (mailto:vjnoble@umich.edu).


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       Welcome to Michigan!
          Satire    September 12, 2016       Satire




       You’re probably wondering what to expect from this university which purports to attract and create
       the “Leaders and Best”? Well, first off, brace yourself for … just brace yourself.
       Hey you! Yes, you. You’ve just picked up a quality publication’s writing, which means you’re intelligent and have
       great taste. (And probably fairly attractive — see, it’s not just your mom who’s told you that now!) You’ll drunk text
       your high school ex at some point this year, but congratulations on making a smart choice at this moment, at least!

       You’re probably wondering what to expect from this university which purports to attract and create the
       “Leaders and Best”? Well, first off, brace yourself for … just brace yourself.

       As you pack yourself into a lecture hall like a sweaty, human sardine and try to catch the eye of that cutie in the
       white crop top (did you just assume in your imagination that they were a biological female who also identifies as a
       woman?! How dare you, you homophobic, cisnormative bigot!), all eager to learn, the prof will first give a “trigger
       warning,” which is done to alert you that what you are about to read or hear might make you uncomfortable and/or


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       expand your mind. That’s super icky stuff, I know, but fear   not, for campus is riddled with “safe spaces” where you
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       can hide from the real world and all of the scary, evil opinions of the roughly 14 conservatives and libertarians you’ll
       (never) encounter on campus — and their insidious “Trump 2016” messages inscribed on the ground in chalk, to
       boot (yes, that stuff children play with; you’re not insane — [MICROAGGRESSION!] — yet).

       Have you heard of Relationship Remix? No? You will soon enough. That’s where they’ll teach you (if you’re a male,
       that is) how not to rape a woman. Oh, you already knew innately that such an act was disgusting and should merit
       the death penalty? Wrong! You need to re-learn exactly what “rape” entails.




            ”
                        Wrong! You need to re-learn exactly what “rape” entails.


       Pro-tip: If she’s been drinking, or you’ve been drinking — Hell, if even a single drop of Satan’s sweat (alcohol, for
       those less of a fundamentalist, Bible-thumping Christian than myself) has slid down either of your throats — do not
       so much as touch her with a ten foot pole. Don’t even look in her direction. Oh, you clever fiend! Surely if I am a
       blacked out male Amherst student and receive a blowjob from a woman, then I’m safe, you say? Nope, and the fact
       that you thought such a thing means that you’re a sexist misogynist whose wretched existence proves that the
       Patriarchy is real. Shame! Shame! Shame!

       Pro-pro-tip: It may just be safer to steer clear of women for this phase of your life.

       But college = freedom, so you’ll finally be able to express yourself with reckless abandon, right?! Wrong! This is
       where ChangeItUp! enters stage Left (get it? “Left”! Hahahaha) to ruin all your First Amendment and liberty-related
       fun. You see, grasshopper, microaggressions — caution: learning ahead! — are unintentional, everyday words and
       actions which grievously (perhaps even mortally) offend someone (read: a minority), and this, if you haven’t guessed
       yet, is A Very Bad Thing — perhaps even The Worst Thing Imaginable.

       It’s done totally subconsciously, mind you; it’s all subjective; and it can be something as innocuous as asking
       someone whom you have never met (this sort of thing, believe it or not, tends to happen quite a lot in college) a
       basic question that up until about 17.235 seconds ago was considered appropriate for such a first-time encounter:
       “Hey, where are you from?”

       *Sirens go off in the distance; the Apocalypse begins*

       Before you start thinking that there’s simply no possible way to have fun — I mean, they already took away your
       right to speak your mind (which could get you sex), ask basic get-to-know-you questions (to prep for sex, of course),
       and sex itself, for goodness’ sakes! — there are still classes. (Okay, fine; classes aren’t fun, but bear with me.)

       If that all sounds precisely like an Orwellian, dystopian hellhole, then congratulations, your reading comprehension
       skills and general social awareness are both light years ahead of your average Social Justice Warrior peers (you
       know, the ones with blue hair who voted for Bernie and think Marxism, which is directly responsible for the deaths of
       tens of millions of people, is totally rad). They’re a riot! (As in, be careful, since they might actually start a riot
       because MoJo “culturally appropriated” Hispanic culture with Taco Tuesdays.)

       Granted, that you’re more stable than these folks isn’t saying much, but, hey, it’s a start.

       Let us know if you want to talk (mrev@umich.edu).

       Welcome HoMe, kid. Go Blue!

       This is the first of a series of “Welcome to Michigan” satire pieces written by Michigan Review Staff.



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       Why I Dropped My English Major
          Campus       September 29, 2016       Amo Manuel




       As a steadfast believer in the value of literature I am appalled at the degree to which English
       standards have degraded at a top-tier school like the U of M. If there is any lesson I would like to
       impart from my experience with the department, it is that rhetorical measures, like those taken by
       the University of Chicago administration, are crucial to maintaining a truly intellectual atmosphere.
       In light of the University of Chicago’s administrative decision to take a stand against “safe spaces” and “trigger
       warnings,” and in light of the backlash this admirable stance received, I’d like to insert my personal experience with
       the left’s monopoly on academia here at Michigan. One of my liberal friends on Facebook, a current student at the
       University of Chicago, wrote a lengthy opposition to the administration’s letter. Interestingly, he did not choose to
       attack the practical consequences of abandoning emotional safety measures. Instead, he objected to the “spirit” of


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Why I Dropped My English Major - The Michigan Review
               Case 4:18-cv-11451-LVP-EAS ECF No. 18-5 filed 06/15/18                       PageID.575       Page 154 of
                                                                   187the so-called marginalized members of the U of Chicago
       the letter. To him it represented a “flippant” attitude towards
       community; to him it was a sign of the university’s appeasing its more privileged students.

       What, then, is the “spirit” of trigger warnings and safe spaces? The left would have you to believe it is a spirit of
       empathy and humility, a spirit of inclusiveness and equity. Whether or not these are legitimate concerns or mere
       virtue-signaling is unclear. What is clear to me as a direct witness to this spirit’s academic manifestation, is that it
       results in a stagnant, crippled, intellectually unhealthy classroom experience.

       I entered the University of Michigan dead-set on becoming an English major. I had always loved reading and I
       excelled in my high school English classes. I had high expectations for college English – I couldn’t wait to tackle
       much more challenging texts and refine my ability to analyze literary meaning. Over the course of my Freshman
       year I took two 300-level electives and the English major prerequisite survey. As it turns out, college English and
       high school English share very little in common (at least at Michigan). The former is concerned less with literary
       texts themselves and more with a set of half-baked philosophies known as ‘literary theory’ or ‘critical theory.’ This is
       not necessarily a bad thing: I found some theorists like Viktor Shklovsky and Jacques Derrida quite insightful on
       topics such as language’s tricky nature and the purpose of art. However a good half of the theorists we read struck
       me as social justice demagogues, using Shakespeare or Jane Austen as a pretense to feverishly rant about the
       evils of the white man.




            ”
                        However a good half of the theorists we read struck me as social justice
                        demagogues, using Shakespeare or Jane Austen as a pretense to feverishly
                        rant about the evils of the white man.


       However, what bothered me more than the emphasis on ‘identity politics’ in my classes was the way the material
       was presented and received. While I was never chastised for violating safe space protocols, I detected a “spirit” of
       extreme intellectual complacency. My professors implicitly guided their classes toward social justice dogma,
       speaking of “dead white male” authors in snarky, dismissive tones and preaching “intersectionality” with smug
       confidence. When discussing academically fashionable topics like “queer theory,” they avoided opening up any sort
       of serious and critical debate. Instead we were encouraged to apply skepticism to older, more formal theorists and
       writers on grounds of racism, sexism, transphobia or colonialism.

       My classmates, by and large, seemed to blindly accept the ideologies they were presented. Even when the
       professor introduced a point not covered by the reading or clearly mis-explained an aspect of the text, they would
       eagerly nod along in agreement. In particular, when topics of race came up in class (which they did, frequently)
       discourse became almost nonexistent. Fearful of being branded as racially insensitive, my predominately white
       classmates would only venture meek affirmations of the week’s theory of white oppression or African literary
       achievement.




            ”
                        My classmates, by and large, seemed to blindly accept the ideologies they
                        were presented.


       For many students, this cult-like system of learning resulted in a kind of intellectual regurgitation. To paraphrase the
       great JS Mill, an idea must be filtered through unflinching analysis and impartial discourse in order to be truly
       understood. An idea simply received and accepted is shallow; it fundamentally lacks intellectual meaning. In the



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       process of peer-editing my classmates’ papers I found countless
                                                                 187     iterations of that latter kind of thinking. One
       memorable example was a term paper written by a girl in my Shakespeare class on the gender fluidity of several
       characters in Twelfth Night. To me, it resembled a sort of “mad-libs” of liberal academia: terms like
       “heteronormativity” and “genderqueer” were blithely thrown around with little regard for their usefulness or meaning.
       Her thesis, that during the course of the play several main characters are forced into assigned gender roles, seemed
       quite hollow to me. Perhaps her theory was true, but it was merely a statement about the play. I tried asking her
       questions along the lines of “why does this matter?” and, “what further, big picture point are you trying to make?”
       Unfortunately, before she could respond my professor checked in on our session. He gave her paper a quick read-
       through then thoroughly praised her “subversive” take on the Bard. I wouldn’t be the least bit surprised if she ended
       up receiving an A.

       Since then I have switched to focusing on a History major. Perhaps due to History’s higher degree of accountability
       to hard evidence, I have found a much more intellectually satisfying classroom atmosphere. However, as a steadfast
       believer in the value of literature I am appalled at the degree to which English standards have degraded at a top-tier
       school like the U of M. If there is any lesson I would like to impart from my experience with the department, it is that
       rhetorical measures, like those taken by the U of Chicago administration, are crucial to maintaining a truly
       intellectual atmosphere. If we want to impart a substantial dose of artes, scientia and veritas on our graduates, we
       must take serious steps to challenge ideology-driven teaching and deferential learning. Students must be
       encouraged to think critically and bravely, not fall in line with social justice dogma. The “spirit” of trigger warnings
       and safe spaces impedes our intellectual growth; we need a new spirit of intellectual freedom and productive
       discourse.



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       Amo Manuel, Campus, English, free speech, freshmen, gender, history, Jacques Derrida, major, Michigan Review, opinion, race, SJW,
       Students, theory, umich. social justice




                              About Amo Manuel
                              Amo Manuel is a Junior studying History, Computer Science and English at the University of
                              Michigan. From Boston, Massachusetts, he is a 'political agnostic' and plays jazz bass in his
                              spare time. He can be reached at amory@umich.edu. View all posts by Amo Manuel →



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Students were told to select gender pronouns. One chose ‘His Majesty’ to protest ‘absurdity.’ - The Washington Post
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                      Education
                      Students were told to select gender pronouns. One chose ‘His Majesty’ to
                      protest ‘absurdity.’



                      By Lindsey Bever October 7, 2016             Email the author




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                      The University of Michigan has implemented a “designated
                      pronoun” policy to allow students to choose the way they want
                      their professors to refer to them in class.

                      As a protest measure, one student created a new identity: “His
                      Majesty.”

                      Grant Strobl, a junior at U-M and a conservative activist, inserted
                      himself into an emotionally charged national debate over gender
                      identity last week when he used the school’s new policy to declare
                      himself royalty.

                      “When I realized that the university decided to live a fantasy of
                      allowing students to insert words that aren’t even actual pronouns                                    Most Read Local
                      into the university online database that updates the rosters, I
                      decided, well, I might as well be the king of that fantasy, and I                                        1 Inside Casa
                      henceforth shall be referred to as His Majesty,” he told Fox                                                   Padre, the
                      News last week.                                                                                                converted
                                                                                                                                     Walmart
                      “The more and more we go down this road of political correctness                                               where the U.S.
                      at these universities,” Strobl said, “the question is: When will that                                          is holding
                      end? How much is the university willing to sacrifice its pursuit of                                            nearly 1,500
                      truth and its mission for this fantasyland of political correctness?”                                          immigrant


https://www.washingtonpost.com/news/education/wp/2016/10/07/a-university-told-students-to-select-their-gender-pronouns-one-chose-his-majesty/?noredirect=on&utm_term=.caa383b7615a[6/14/2018 12:05:55 PM]
Students were told to select gender pronouns. One chose ‘His Majesty’ to protest ‘absurdity.’ - The Washington Post
                      Case 4:18-cv-11451-LVP-EAS ECF No. 18-5 filed 06/15/18 PageID.582                                                                               Page 161 of
                                                           187             children
                                                                                                                               2 Albert Einstein
                                                                                                                                     decried racism
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                                                                                                                                     misogynistic
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                                                                                                                                     leaves path of
                                                                                                                                     ‘unbelievable’
                                                                                                                                     destruction in
                                                                                                                                     Pennsylvania
                      [Transgender boy’s mom sues hospital, saying he ‘went into
                      spiral’ after staff called him a girl]                                                                   4 A shake-up in elite
                                                                                                                                     admissions: U-
                      Strobl, who is studying political science, German and international                                            Chicago drops
                      studies, is the founding chairman of the university’s Young                                                    SAT/ACT testing
                      Americans for Freedom chapter, a group whose stated goal “is to                                                requirement
                      provide a visible presence for the Conservative Movement,
                      energize other students, and encourage students to speak out.”
                                                                                                                               5 An all-white church
                                                                                                                                     planned to give its
                      He did not respond to requests for comment from The                                                            building to a black
                      Washington Post.
                                                                                                                                     congregation.
                                                                                                                                     Instead, they
                      University officials sent an email Sept. 27 to faculty members and                                             clashed.
                      students explaining a new process that allows students to
                      designate personal pronouns, which will appear on class
                      rosters. The new policy states that students may select from                                                         subscribe
                      pronouns — such as he, she, they or ze (a gender-neutral pronoun)
                      — or choose none at all and opt to just have their names used
                      instead.

                      It states:                                                                                             The story must be told.
                                                                                                                                Subscribe to The Washington Post
                              You can’t always know what someone’s personal pronoun is by
                              looking at them. Correctly using someone’s designated personal                                             Try 1 month for $1
                              pronoun is one of the most basic ways to show your respect for
                              their gender identity.

                              When someone is referred to with the wrong pronoun, it can
                              make them feel disrespected, invalidated, dismissed, alienated,
                              or dysphoric (or, often, all of the above.)


                      Strobl told conservative news site CNSNews.com that when he
                      accessed the system, it also gave him the option to “make up your
                      own” pronoun.

                      So he did.



                      Kim Broekhuizen, a spokeswoman for the university, told The
                      Washington Post in an email that students proposed the pronoun
                      policy and it was considered by a campus committee. An online
                      petition urging the administration to put students’ personal
                      pronouns on class rosters garnered almost 800 signatures.

                      “Trans students at the University of Michigan often find
                      themselves facing threats to their mental and physical safety,” the
                      petition said, adding that transgender students were forced to
                      reach out to their professors to avoid being misgendered. “This
                      can be a mentally and emotionally draining experience for
                      individuals who constantly have to inform or correct their



https://www.washingtonpost.com/news/education/wp/2016/10/07/a-university-told-students-to-select-their-gender-pronouns-one-chose-his-majesty/?noredirect=on&utm_term=.caa383b7615a[6/14/2018 12:05:55 PM]
Students were told to select gender pronouns. One chose ‘His Majesty’ to protest ‘absurdity.’ - The Washington Post
                      Case 4:18-cv-11451-LVP-EAS ECF No. 18-5 filed 06/15/18                                                               PageID.583                 Page 162 of
                      professors of their identity.”       187
                      After the policy was implemented, Strobl said, he joined
                      “hundreds of students” who “changed their pronouns to protest
                      the university policy.”

                      “Students have been calling me His Majesty, those that have read
                      the story, and it really does illustrate the ridiculousness of the
                      policy in ignoring the English language,” he told CNSNews.com.
                      “It just creates more complexity, more difficulty for our society as                                    Our Online Games
                      a whole, and it goes against the university’s mission to pursue                                         Play right from this page
                      truth.”

                      In an interview with Fox affiliate WJBK he said, “We are really
                      happy that we are spreading the absurdity of this policy.”

                      Strobl said some professors have sent him emails showing
                      support. But one professor has promised to punish those who                                                Klondike                 Mahjongg
                      abuse the policy.                                                                                          Solitaire                Candy
                                                                                                                                 Card game                Matching game
                      “I’ve received tons of support from all across the country and even
                      at the university,” Strobl told Fox News. “However, I have had
                      some students say that I am disrespectful, But that’s simply not
                      true. I love all humans — this is not out of disrespect; I just want
                      to restore reality.”


                                                                                                                                 Word Wipe                Mahjongg
                      https://twitter.com/emilyjashinsky/status/782273228005842944?                                              Word game                Dimensions
                      lang=en                                                                                                                             Arcade game

                      The new measure at U-M comes amid a nationwide debate about
                      gender identity and the push for greater acceptance. More than
                      150 U.S. colleges and universities allow students to designate a
                      first name other than their legal name on school records, and
                                                                                                                            Afternoon Buzz newsletter
                      more than 50 allow students to choose their genders without                                           A roundup of the major stories
                      documentation of medical intervention. U-M has joined five other                                      about the D.C. area, weekdays
                      schools that allow students to choose the pronouns they wish to go                                    at 4 p.m.
                      by, according to Campus Pride, an advocacy group that compiles
                      such data.
                                                                                                                              E-mail address                     Add
                      [Sorry, grammar nerds. The singular ‘they’ has been declared
                      Word of the Year.]

                      Vanderbilt University’s Faculty Senate Gender Inclusivity Task
                      Force recently released a handout on gender pronouns for faculty
                      members, encouraging them to tell colleagues and students which
                      pronouns they use for themselves, to include them on email
                      signatures and class syllabi and to survey students on their own                                                       Search Jobs
                      pronouns.

                      Earlier this year, the Justice Department and the Department of                                          Featured Jobs
                      Education released guidance on Title IX protections against sex-                                           Associate Director,
                      based discrimination for transgender students. Genny Beemyn,
                                                                                                                                 Regulatory Affairs & Strategy
                      transgender policy clearinghouse coordinator for Campus Pride,
                                                                                                                                 EMMES Corporation
                      told The Post that Title IX implies that colleges and
                      universities must respect the names and pronouns that
                      transgender students choose for themselves and, to do that, the                                            Regulatory Etmf Specialist
                      schools must ask them what those names and pronouns are.                                                   EMMES Corporation

                      “The point is for students to be able to be gendered in keeping                                            Regulatory Etmf Specialist
                      with how they identify and not have faculty members or others                                              EMMES Corporation
                      misgender them,” said Beemyn, director of the Stonewall Center,
                      an LGBT resource center at the University of Massachusetts at
                      Amherst.

                      Beemyn is transgender and uses the pronouns “they” and
                      “them.” “It feels like I’m being made invisible when people are not                                   washingtonpost.com



https://www.washingtonpost.com/news/education/wp/2016/10/07/a-university-told-students-to-select-their-gender-pronouns-one-chose-his-majesty/?noredirect=on&utm_term=.caa383b7615a[6/14/2018 12:05:55 PM]
Students were told to select gender pronouns. One chose ‘His Majesty’ to protest ‘absurdity.’ - The Washington Post
                      Case 4:18-cv-11451-LVP-EAS ECF No. 18-5 filed 06/15/18 PageID.584 Page 163 of
                      respecting who I am,” Beemyn said. “It makes me feel 187 © 1996-2018 The Washington Post
                      invalidated.”

                      Beemyn said policies, such as the one implemented at the                                              Help and Contact Us
                      University of Michigan, give transgender students an important                                        Policies and Standards
                      choice. “Everyone has pronouns; it’s not just trans people,”                                          Terms of Service
                      Beemyn said. “This gives cisgender people a sense that ‘I have a
                                                                                                                            Privacy Policy
                      certain privilege here.’ ”
                                                                                                                            Print Products Terms of Sale
                      [Why Merriam-Webster added ‘cisgender,’ ‘genderqueer’ and                                             Digital Products Terms of Sale
                      ‘Mx.’ to the dictionary]
                                                                                                                            Submissions and Discussion Policy
                      Broekhuizen, the U-M spokeswoman, said the school                                                     RSS Terms of Service
                      implemented the “designated pronoun” policy to accommodate all                                        Ad Choices
                      students but will monitor the program and make any changes as
                      needed. “But it is an important part of our efforts to be inclusive of
                      all students, including those who do not identify as strictly male or
                      female,” Broekhuizen said in a statement. “We’ve seen an
                      outpouring of gratitude from these students for our recognition of
                      their identity. It is unfortunate that some students are not taking
                      this serious.”

                      Beemyn said that mocking such programs is “offensive” to
                      transgender people. “I think it’s unfortunate,” Beemyn said about
                      the push back. “It’s belittling the importance of this for trans
                      people. It’s not recognizing that, for trans people, this is needed to
                      be treated in accordance with how we identify.”

                      Strobl is not alone in pushing back against what he called the
                      “fantasy land of political correctness.” Jordan Peterson,
                      a psychology professor at the University of Toronto,
                      recently staged his own protests over gender-neutral pronouns —
                      particularly, against Canadian legislation that intends to include
                      gender identity and expression in prohibited forms
                      of discrimination, according to the Toronto Sun. Last week,
                      Peterson began releasing YouTube lectures saying that such
                      policies violate freedom of speech.




                      Read more:

                      12-year-old to school board: ‘I hope you understand what being
                      transgender means’

                      Wis. transgender boy who won right to run for prom king wins
                      right to use boys’ bathroom — for the time being

                      Becoming Nicole: They were born identical twin boys, but one
                      always felt he was a girl

                      Her 10-year-old son wanted to shop at a store just for girls. What



https://www.washingtonpost.com/news/education/wp/2016/10/07/a-university-told-students-to-select-their-gender-pronouns-one-chose-his-majesty/?noredirect=on&utm_term=.caa383b7615a[6/14/2018 12:05:55 PM]
Students were told to select gender pronouns. One chose ‘His Majesty’ to protest ‘absurdity.’ - The Washington Post
                      Case 4:18-cv-11451-LVP-EAS ECF No. 18-5 filed 06/15/18                                                               PageID.585                 Page 164 of
                      the two found there was acceptance.  187
                      ‘My heart breaks 80 million ways:’ Father has trouble walking and
                      writing. Now his son is showing signs of the same disorder.




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                                                Afternoon Buzz newsletter
                             A roundup of the major stories about the D.C. area,
                                                       weekdays at 4 p.m.


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                                659 Comments




                                          Lindsey Bever is a general assignment reporter for The
                                          Washington Post, covering national news with an emphasis
                                          on health. She was previously a reporter at the Dallas Morning
                                          News. Follow @lindseybever




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Students were told to select gender pronouns. One chose ‘His Majesty’ to protest ‘absurdity.’ - The Washington Post
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                      [Gallery] 23-Year-               [Pics] Wife Dies                Photo Editing and
                      Old Becomes                      Hours After Giving              Book-Making All in
                      World's Youngest                 Birth. Then                     One Place
                      Grandfather                      Husband's Gut                   Blurb
                      Ice Pop                          Tells Him To Log
                                                       Into Her Computer
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                      Teen Risked                      Forget Your 401k if Historians Doubt
                      Everything To Slip               you Own a Home      These 21 Famous
                      Flight Attendant                 (Do This)           People Ever
                      This Note                        MorningFinance      Existed
                      New Arena                                                        @TopixRewind




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Trump-phobia - The Michigan Review
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       Trump-phobia
          Politics   November 9, 2016        Amo Manuel




       If you’re not one for facts and simply believe that Donald Trump represents ‘hate,’ I suggest you
       watch his victory speech from late last night. His tone was one of inclusivity, calling to unite a
       diverse America of all “races, religions, backgrounds and beliefs.”


       If you’ve been anywhere near social media during the last 12 hours you’ve probably seen instances of Trump-
       related hysteria. To a certain extent I understand the anxiety. Personally, I am concerned about Trump’s stances on
       the environment, the global economy and privacy issues.

       Most of my left wing friends, however, seem to be primarily upset with the supposed fact that Donald Trump is a
       racist, sexist, xenophobe, etc.. Many genuinely believe that Trump’s presidency will usher in an age of KKK-style
       racial persecution; that Trump intends to deport all Mexican people living in the United States; that LGBT people
       have reason to “fear for their lives.”

       Let me correct the record here for a second. Trump wishes to crack down on illegal immigration – the notion that
       Donald Trump hates/disparages Mexicans is an outrageous stretch of the media’s imagination. Donald Trump’s
       views on LGBT issues are much more progressive than those of most Republicans – he even spoke out in favor of


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       transgender bathroom freedom. Donald Trump supports 187   a temporary ban on Muslim immigration to the United
       States – if you’re a Muslim already living in the US you will not be deported or persecuted.

       While Trump’s “locker room talk” may be in poor taste, there is absolutely no evidence that he is guilty of sexual
       assault or that his policies will lean anti-women. If you’re not one for facts and simply believe that Donald Trump
       represents ‘hate,’ I suggest you watch his victory speech from late last night. His tone was one of inclusivity, calling
       to unite a diverse America of all “races, religions, backgrounds and beliefs.”

       The mainstream media is to blame for Trump-induced panic attacks and meltdowns. Even reputable news sources
       like the New York Times resorted to unsubstantiated name-calling, throwing around heavy labels like “racist” and
       comparisons to Adolf Hitler with little regard for fact or neutrality. They obsessively, neurotically spread statistics
       around uneducated white male support for Trump, often groundlessly asserting racial malice among these voters.

       The abject failure of these same media sources in predicting Hillary Clinton’s victory is a testament to their profound
       disconnect with American voters. From their sheltered NYC bubble of liberal superiority, right-wing voters represent
       an alien threat, unworthy of a real listening-to.

       It is far too late to backtrack and attempt to reach an understanding, as Donald Trump pulled off the greatest political
       upset in recent history. But cancel your ticket to Canada, because Trump and his supporters are not monsters. They
       are real people with conscience and intelligence. In the coming days and months I truly believe that the “only thing
       we have to fear is fear itself.”

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                              About Amo Manuel
                              Amo Manuel is a Junior studying History, Computer Science and English at the University of
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                              spare time. He can be reached at amory@umich.edu. View all posts by Amo Manuel →



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      >5-..6@@=ÿ-'3ÿ.*-67'8ÿ*+6ÿ47+/,@7').<ÿN*+ÿ-.0+3ÿ)*+ÿX'74+6.7)?ÿ)@ÿ,6@473+ÿ.-B+)?ÿB@6ÿ-55ÿ.)23+').1
      7'>5237'8ÿ>@'.+64-)74+.1ÿ3++=7'8ÿ)*+ÿ,6@)+.).ÿ-.ÿO4258-6S<
      O&E4+ÿ4@)+3ÿ7'ÿ+5+>)7@'.ÿ/*+6+ÿ&ÿ*-4+ÿ>@=+ÿ@2)ÿ@'ÿ)*+ÿ5@.7'8ÿ.73+1Sÿg6-')ÿ/6@)+<ÿO&ÿ373'E)ÿ6+.@6)ÿ)@ÿ4258-6
      ,6@)+.)1ÿ&ÿ373'E)ÿ+'3ÿB67+'3.*7,.1ÿ-'3ÿ&ÿ>+6)-7'5?ÿ373'E)ÿ7'B57>)ÿ*-6=ÿ@'ÿ)*+ÿ@)*+6ÿ,-6)?<S
      fNWÿ.@,*@=@6+ÿW.*5+?ÿ[-5>-8'@ÿ/6@)+ÿ.*+ÿB+5)ÿ37.*+-6)+'+3ÿJ?ÿ)*+ÿB->25)?E.ÿ'+8-)74+ÿ6+.,@'.+ÿ)@ÿ)*+
      +5+>)7@'1ÿ'@)7'8ÿ-ÿ7'.)-'>+ÿ/*+'ÿ-ÿ*7.)@6?ÿ,6@B+..@6ÿ570+'+3ÿ)*+ÿ-.>+'.7@'ÿ@BÿL@'-53ÿD62=,ÿ)@ÿ)*+ÿ/-?
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      5+B)ÿ.73+ÿ@Bÿ)*+ÿ,@57)7>-5ÿ.,+>)62=<
      O&ÿ+K,+>)+3ÿ.@ÿ=2>*ÿ=@6+ÿB6@=ÿ)*+ÿX'74+6.7)?ÿ@BÿZ7>*78-'1ÿ-'3ÿ)*@6@28*5?ÿ&ÿ-=ÿ-,,-55+3ÿ-)ÿ*@/
      X'74+6.7)?ÿ@BB7>7-5.ÿ=-3+ÿ)*@.+ÿ@Bÿ2.ÿ/*@ÿ373ÿ7'3++3ÿ.2,,@6)ÿh6+.73+')Ai5+>)ÿL@'-53ÿD62=,ÿB++5ÿ-.
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           HI;?>6=:3IG:B?D38?36I6787967:7;J<:9=6=>59J>9=856?J;67A?36;J5>6=B=;6;JC:DEJ<D:8:6?J<:;6=6=B?J
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           L3=B?D;=6MÿD?9?5;?;ÿN>F9=;;?9O;ÿ?85=9;ÿA7D=3GÿPQRSÿ<D?;=A?36=59ÿ?9?>6=:3ÿ=3ÿTU2Vÿ;?669?8?36
           HI;?>6=:3I5A8=3=;6D56=:3I73=B?D;=6MJ;?669?;JW:=5J95C;7=6JD?9?5;?;J;>F9=;;?9;J?85=9;JA7D=3GJPQRSK
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      Max Rysztak: It is time to argue for unity
      Monday, November 21, 2016 - 5:01pm
      MAX RYSZTAK (/AUTHOR/MRYSZTAK)
      Columnist


      Two weeks after the election, members of our community still feel attacked, reduced and unsafe — no
      matter their political opinion. The days following the presidential election have been hard on us all. These
      feelings cannot go unnoticed; they are justified, regardless of political party or ideology.
      There is still an unmeasurable animosity between the left and the right, but I truly believe there is plenty
      of room to come together. Before this can happen, people need to accept the results of election night.
      Refusing to accept the results, crying for the abolishment of the Electoral College and spreading hate
      against our peers, no matter who they voted for, hinders our community’s ability to unify after the
      election — and both sides are at fault.
      If you truly want the inclusive country many of you argue for, it’s time to stop calling Trump voters
      sexists, misogynists, racist and bigots. Whether you agree with them or not, they are Americans who have
      a right to vote for any candidate. Victory, however, doesn’t give anybody the justification for spreading
      hate, especially on campus. Hate crimes, such as violently attacking those of the Muslim faith, are
      completely unacceptable. To any Trump voters who now feel they have the right to express their views in
      inappropriate ways, your candidate says (http://www.cnn.com/2016/11/13/politics/donald-trump-60-
      minutes-first-interview/index.html) “Stop it.”
      A large proportion of Conservatives and Trump voters are not the racist, sexist, homophobic bigots that
      they are made out to be. While it is only the miniscule proportion that seems to be having the loudest
      voice, most Conservatives are bundled with the extremists. This campus, supposedly one of diversity,
      makes most of us feel uncomfortable in discussing our opinions. This isn’t a short-term problem — it is
      systemic and long-lasting. We have dealt with professors saying it’s OK to hate Republicans
      (http://inthesetimes.com/article/17426/we_cant_all_just_get_along); we have political protests —
      supported by the University of Michigan’s administration — fueling hate against a major political party
      and ideology. If I wanted to wear Republican apparel to one of my classes, there is probably a good
      chance I would be verbally or physically attacked. That type of ideological intolerance should not be
      condoned at a place that prides itself on intellectualism and diversity, no matter how strong the feelings
      we have for or against a certain candidate are.
      For those with different political beliefs from those of Conservatives like myself, I understand your anger
      and fear. I get that a lot of what President-elect Trump says scares minority communities on this campus.
      Faced with slurs, inappropriate language and the talk of threatening policies, there has certainly been
      much hate. But if you look past his campaign rhetoric, most of the actual policies on immigration or
      LGBTQ issues, for example, are not radical at all — they are actually more moderate than what other




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      Conservative candidates proposed. I implore anyone who is upset at the outcome of the election and who
      feels scared for whatever reason to read the president-elect’s policies
      (https://www.donaldjtrump.com/policies/).
      Hashtags such as “#NotMyPresident” not only represent denial and immaturity; they represent
      intolerance. As much as some may disagree with the president-elect, he will be our president. As
      Secretary Clinton said (http://www.cnn.com/2016/11/09/politics/hillary-clinton-concession-speech/),
      “Donald Trump is going to be our president. We owe him an open mind and the chance to lead.” While a
      similar campus movement by Conservatives titled “#NotMyCampus” — through which right-leaning
      students voiced their objections on the University administration’s bias against conservative students —
      exists, it is very different. Conservatives here have specific complaints about the school administration’s
      actions regarding political beliefs, whereas “#NotMyPresident” supporters are merely reacting to a loss
      by refusing to let go of controversial statements by the president-elect.
      The campus administration would be wise to heed Secretary Clinton’s words. Those on both sides argue
      that campus leaders have a lot to do. Whatever solutions the University pursues, I hope it keeps students
      of all political backgrounds in mind. Those of all faiths, backgrounds, experiences and political beliefs
      have the right to be heard and the right to express their opinions. The problems on this campus are not
      one-sided — they are widespread and deeply rooted. There is a current culture among students of being
      afraid to voice their opinions, of not accepting each other for what they believe and feeling their
      environments are hostile. No matter one’s political opinion, people of all sides don’t feel like they can
      truly speak their minds — and the administration needs to help in an unbiased way.
      Margaret Thatcher once said, “I always cheer up immensely if an attack is particularly wounding because
      I think, well, if they attack one personally, it means they have not a single political argument left.” As we
      move past the election, we should strive to return to political debates, not personal ones. In an election in
      which both sides sank to the lowest levels of political discourse, it is up to us to return to policy and ideas,
      not personality and labels. We need to forget this election, move on from the hate and work on ideas.
      Max Rysztak can be reached at mrysztak@umich.edu (mailto:mrysztak@umich.edu).


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